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Invoice Number ******

MIRICK, O’ CONNELL
15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding settlement and motion to the court on
overpaid fees; review motion.

08/08/14 goneil 0022 Follow up regarding settlement hearing. 0.10 26.50
08/29/14 kmdellec 0022 Review adversary proceeding and main case 0.10 19.50
dockets and update litigation control sheet
accordingly.
10/21/14 kmdellec 0022 Update litigation control chart. 0.10 19.50
TYPE 0022 TOTAL 38.80 10,228.50

TASK: 0023 Adversary Proceeding

Attorney Summary * Hours Value Rate

255 cbhorourk Cori B. O’Rour 1.20 228.00 190.00

281 jemurphy Jessica E. Mur 3.80 969.00 255.00

274 kmdellec Kimberly M. De 0.20 38.00 190.00

TYPE 0023 TOTAL 5.20 1,235.00

Time Detail Hours Value
03/20/14 jemurphy 0023 Review and attempt to address service issues of 0.10 - 25.50

adversary proceeding complaints against J. Tull
and the Ellisons with counsel.

03/21/14 jemurphy 0023 Attend to service of TROs on J. Tull and the 0.10 25.50
Ellisons.
03/24/14 jemurphy 0023 Review returned service on J. Tull and the 0.10 25.50

Ellisons; strategy regarding next steps to make
service; attend to obtaining alternative
address from USPS.

03/29/14 chorourk 0023 Review service issues. 0.10 19.00
03/31/14 kmdellec 0023 Track returned mail. addressed to Stanley , 0.10 18.50
. _Ellison.
04/01/14 cbhorourk 0023 Strategic planning with Attorney Murphy 0.10 19.00
regarding alternate service.
04/01/14 jemurphy 0023 Strategy regarding alternate means to 0.20 51.00

investigate addresses and attempt service;
review court’s notice of returned mail to J.
Tull and the Ellisons.
05/20/14 cbhorourk 0023 Draft stipulation of settlement regarding Ss. 1.00 190.00
Marshall Ellison, motion to approve and motion
to limit notice; draft certificate of service
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MIRICK, O'CONNELL

15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

05/20/14 jemurphy 0023

06/09/14 jemurphy 0023

06/10/14 jemurphy 0023

06/11/14 jemurphy 0023

06/11/14 jemurphy 0023

06/12/14 jemurphy 0023

06/13/14 jemurphy 0023

10/21/14 kmdellec 0023

TYPE 0023

and compile service list.

Review and edit S. Ellison’s proposed
Assented-to Motion to Extend Trustee's
Opposition Deadline for Motion to Withdraw
Reference and Motion to Dismiss; draft
memorandum to Attorney Sheatsley regarding
same.

Communications with Attorney Sheatsley
regarding settlement with the Ellisons.

Attend to preparation of Motion to Extend
Temporary Restraining Order and Move
Preliminary Injunction hearing.

Edits to and further draft Stipulation of
Settlement for’the Ellisons, Agreements for
Judgments for the Ellisons and a Motion to
Approve Stipulation; communications with
Attorney Sheatsley regarding the same.

Review and edit Motion to Continue Temporary
Restraining Order and continue hearing on
Preliminary Injunction for the Ellisons;
communications with Attorney Sheatsley
regarding the same.

Communications with Attorney Sheatsley
regarding the settlement documents and motions
to continue TRO/PI and other dates; make edits
to the same; attend to filing Motion to Approve
Settlement, Stipulation of Settlement, Motion
to Limit Notice and Motion to Continue with the
Court; review settlement documents and
certification executed by the Ellisons; attend
to arrangements for settlement payments.
Review receipt of Ellisons’ settlement funds
wire; communications with Attorney Sheatsley
regarding the same.

Update litigation control chart.

TOTAL

TASK: 0024 Adversary Proceeding

Attorney Summary

152 PWC Paul W. Carey

Hours Value Rate

1.30 487.50 375.00

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102.00

76.50

204.00

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25.50

19.50

1,235.00
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15008
14190

139 JHB Joseph H. Baldiga
290 goneil Gina B. O’Neil
255 cbhorourk Cori B. O’Rour
281 jemurphy Jessica E. Mur
274 kmdellec Kimberly M. De

TYPE 0024

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

Time Detail

03/11/14

03/13/14

03/14/14

03/18/14

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6.10 2,382.00 390.49
1.10 280.50 255.00
0.50 95.00 190.00
12.10 3,115.50 257.48
9.40 1,742.00 185.32

30.50 8,102.50

Review and edit portions of Complaint.

Prepare Declaration regarding electronic filing
regarding Warneck verified complaint and assist
with efiling same.

Attention to notice of emergency hearing
regarding preliminary injunction and notice of

' game.

Attention to ECF notice for J. Baldiga and G.
O'Neil.

Draft correspondence to BE. Warneck regarding
adversary proceeding complaint and application
for preliminary injunction.

Edit proposed Temporary Restraining Order from
Attorney Madoff and communications regarding
the same; communications with Attorney Kresken
regarding E. Warneck’s liability to the Estate
and likely bankruptcy filing; discuss options
for settlement and entering an Agreement on
Temporary Restraining Order regarding
use/transfer of Warneck’s assets.

Assist with assessment of Mr. Warneck’s
anticipated bankruptcy filing and impact of
same on preliminary injunction.

Draft Suggestion of Bankruptcy for E. Warneck.
Provide advice regarding Mr. Warneck’s
bankruptcy filing.

Assist with preparation/format of suggestion of
bankruptcy in connection with Ed Warneck.
Review service issues.

Analyze whether/how shortfall claims are
non-dischargeable in E. Warneck’s bankruptcy.
Review information about Mr. Warneck’s Chapter
7 case and possible discharge action.

Analyze service issues.

Hours Value
0.20 51.00
0.10 18.50
0.20 37.00
0.10 18.50
0.10 25,50
1.50 382.50
0.10 25.50
0.20 51.00
0.10 25.50
0.30 55.50
0.10 19.00
1.40 357.00
0.10 25.50
0.20 38.00
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MIRICK, O’ CONNELL

15008

14190

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_ Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

04/09/14 chorourk 0024

04/16/14 kmdellec 0024

04/17/14 kmdellec 0024

04/21/14

04/22/14

04/28/14

04/28/14

04/29/14

05/09/14

05/11/14

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05/21/14

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Review service issues and revise AP tracking
chart.

Review Bankruptcy Court web-site and local
rules for District of South Carolina to
determine requirements for notice of appearance
in order to receive electronic notice in
bankruptcy case of Ed Warneck.

Continue review of South Carolina Bankruptcy
Court and local rules to determine procedure
for receipt of electronic notice in E.
Warneck’s bankruptcy case; telephone call to
and from Bankruptcy Court regarding same;
complete ECF registration form and prepare
notice of appearance and request for notice for
J. Baldiga.

Emails with UST regarding Warneck C. 7,
recovery issues.

Phone call from M. Vieira (Warneck’s Chapter 7
Tr.) regarding EH. Warneck’s 341 meeting and
Direct Air’s Trustee’s claims against E.
Warneck; discuss dischargability of Direct

-Air’s Trustee’s claims.

Review and revise chart summarizing all
litigation matters; discuss case pending in New
Jersey with J. Murphy; revise to include
information regarding E. Warneck bankruptcy
case; review Pacer docket as to New Jersey case
and revise summary accordingly.

Final review of ECF registration forms for J.
Baldiga and J. Murphy and forward to United
States Bankruptcy Court - District of South
Carolina in order to monitor bankruptcy case of
E. Warneck. /

Finalize notices of appearance for J. Baldiga
and J. Murphy in connection with Edward Warneck
bankruptcy case.

Review amended financial statements filed in E.
Warneck’s bankruptcy.

Review Warneck bankruptcy schedules and
amendment, formulate discharge objection
grounds.

Assessment of options regarding discharge, stay
relief issues.

Strategy regarding pursuing a denial of

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MIRICK, O’ CONNELL

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

Direct

kmdellec

kmdellec
JHB

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JHB

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jemurphy

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discharge for E. Warneck in his bankruptcy.
Draft proof of claim, attachment, declaration
and certificate of service for filing by Ch. 7
trustee in E. Warneck’s bankruptcy case; review
docket to confirm current service list; review
and revise all.

Review status of discharge objection deadline.
Review open claim, discharge issues and next
steps. ,

Attention to proof of claim to be filed by
trustee in Mr. Warneck’s bankruptcy case.
Revise proof of claim (.2), further analysis
and strategies regarding discharge grounds and
issues (.3).

Attention to trustee’s suggested revisions to
proof of claim:

Review and edit Proof of Claim in E. Warneck’s
bankruptcy.

Initial review of discharge issues and
deadlines in Warneck bankruptcy; strategy with
the trustee regarding the same.

Review memoranda regarding discharge objection
and claims.

Draft correspondence to Attorney Kresken
regarding E. Warneck’s bankruptcy discharge.
Review and edit POC in Warneck’s bankruptcy.
Continued analysis regarding potential grounds
for discharge challenge, devise settlement
strategies.

Discussion regarding claims against former :
officer, discharge and dischargeable; review
case law regarding applicability of 727(a) (7);
draft memo regarding same.

Phone call with Attorney Kresken regarding E.
Warneck’s bankruptcy, his discharge and the
debt due to Direct Air.

Analyze claim dischargeability versus no
discharge in bankruptcy pursuant to bankruptcy
codes sec. 523 and sec. 727.

Continued attention to discharge, settlement
issues and strategies. ,

Develop and draft correspondence to. Attorney
Kresken regarding the Trustee’s proposal
regarding dischargeability of E. Warneck’s

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

JHB

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debts in bankruptcy and resolution of adversary
process in Massachusetts.

Continue analysis, conference (JEM) regarding
settlement, issues, possible grounds to object
to discharge and potential resolution.
Continued analysis, strategies, discussions
with Attorney Murphy regarding discharge,
recovery issues.

Strategy regarding settlement options with &.
Warneck; communications with the Trustee
regarding the same.

Communications with Attorney Kresken regarding
discharge of Direct Air debt in E. Warneck’s
bankruptcy and settlement of adversary
proceedings.

Review bankruptcy case summary including
discharge issues and provide advice regarding
extension of discharge deadline (.2);
strategize regarding settlement options (.2).
Continued attention to settlement, objection
issues and strategies.

Review correspondence from Attorney Kresken
regarding Consent Order to extend Direct Air’s
deadline to objection to Warneck’s discharge in
bankruptcy and Direct Air’s claims against
Warneck.

Communications with Attorney Kresken’s office
regarding Consent Order to Extend Time to
Objection to Discharge; review proposed Consent
Order.

Review revised claim form, devise collection
strategies.

Revise proof of claim and attachment as to.
amount of claim; calendar ahead for efiling or
abandonment.

Call and emails with Warneck C. 7 trustee
regarding case issues, possible assets (.3);
final review of POC and. assessment of discharge
issues, memo regarding same (.3).

Finalize proof of claim for efiling and
service.

Review S.C. Bankruptcy Court’s order on Consent
Order and communications with Attorney Kresken
regarding the same;.review Order discharging

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MIRICK, O’ CONNELL

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07/29/14

07/29/14

07/30/14

08/04/14

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Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

Direct

goneil
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debtor; strategy regarding Proof of Claim in
Warneck’s bankruptcy.

Review memorandum from Trustee regarding
abandonment of claims.

Review discharge order, issues (.2); final
review, execution of Proof of Claim (.2).

Track order extending discharge objection
deadline.

Call with Mr. Wren, review court orders
regarding discharge issues.

Continued attention to claim, discharge issues,
review revised order and related settlement
issues.

Review status of case/update litigation control
sheet accordingly.

Review status of current discharge objection
deadline.

Further review of discharge objection deadline.
Communications with Attorney Kresken regarding
Warneck’s revised settlement position regarding
the Trustee’s claims and dischargability of
Warneck’s debts; initial analysis of settlement
offer and alternatives.

Track trustee’s response regarding no action
regarding discharge objection deadline.

Review correspondence from Attorney Kresken
regarding further revised settlement offer;
analyze increased offer and alternative
hearings. ‘

Review memo regarding discharge, recovery
issues and strategies and confirm NFA regarding
discharge challenge.

Analyze dischargeability of Trustee’s claim in
E. Warneck’s bankruptcy; draft memorandum to
the Trustee regarding the same. :

Emails with trustee counsel regarding potential
claims.

Communications with E. Warneck’s Chapter 7
Trustee regarding assistance with information
on Direct Air operations and founding members.
Communications with E. Warneck’s Chapter 7,
regarding request for certain Direct Air
documents and Rule 2004 Exam transcripts.
Review status of adversary proceeding, his

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MIRICK, O'CONNELL

15008 Joseph H. Baldiga,
14190 Direct Air (Southern Sky Air & Tours, -LLC)

08/13/14 jemurphy 0024

TASK:

TYPE 0024

Attorney Summary

139
290
255
281
162
274
325

JHB Joseph H. Baldiga
goneil Gina B. O'Neil
cborourk Cori B. O’Rour
jemurphy Jessica E. Mur
RBG Robert B. Gibbons
kmdellec Kimberly M. De
kfoley Kate Foley

TYPE 0025 TOTAL

Time Detail

10/15/13 goneil 0025

03/05/14 goneil 0025
03/05/14 goneil 0025
03/11/14 goneil 0025

03/11/14 goneil 0025

03/12/14 goneil 0025

03/13/14 JHB 0025

03/13/14 kmdellec 0025

03/13/14 goneil 0025

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Page234
Invoice Number ******

Chapter 7 Trustee

personal bankruptcy and next steps.
Communications with Attorney Barton regarding

H..Torbert and Avondale Ventures as sources for

E. Warneck’s bankruptcy estate to recover
assets from.

TOTAL

0025 Adversary Proceeding

Hours Value Rate
20.50 8,080.50 394.17
7.70 2,018.50 262.14
3.40 662.00 194.71
60.80 16,053.00 264.03
1.40 539.00 385.00
2.40 455.00 189.58
0.40 96.00 240.00

96.60 27,904.00

Review Avondale preference and fraudulent
transfer payments.

Strategize regarding contents of Complaint.
Stratgize regarding contents of Complaint.
Strategize regarding Complaint and counts to
include.

Strategize regarding Complaint and counts to
include.

Assist with background materials to include in
Complaint, including to review the SOFA and
other payments that Direct Air made on
Avondale’s behalf (.5); strategize regarding
specific claims based on same (.2).

Review final form of complaint, underlying
transfer materials, execute verification. :
Prepare Declaration regarding electronic filing
regarding Avondale verified complaint and
assist with efiling same.

Provide advice regarding signatures and

0.20 53.00
30.50 8,102.50
Hours Value

0.10 25.50

0.30 76.50

0.10 25.50

0.10 25.50

0.10 25.50

0.70 178.50

0.40 156.00

0.10 18.50

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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electronic filing for Verified Complaints.
Attention to notice of emergency hearing
regarding preliminary injunction and notice of
same.

Assist with efiling of supplemental certificate
of service regarding application for
preliminary injunction and notice of hearing
regarding same. ,
Communications with Attorney nickless regarding
complaint and application for preliminary
injunction against Avondale.

Review status of Avondale negotiations and
consider its assertion of collectability
issues.

Emails with Attorney Nickless regarding
complaint issues.

Attention to ECF notice for J. Baldiga and G.
O'Neil.

Review correspondence from Attorney Nickless
regarding Avondale’s assets and request to
dismiss claims; strategy regarding additional
theories of liability for undercapitalizing the
company; strategy regarding discovery to
request from Avondale.

Assist with assessment of Avondale defenses.
Communications with Attorney Nickless regarding
financial information from Avondale.

Review service issues.

Attention to returned mail.

Research regarding veil piercing grounds, under
capitalization standards.

Revise AP tracking chart regarding service
status and response deadlines.

Review Court’s Pretrial Order and Case
Schedule.

Attention to miscellaneous returned mail;
electronic mail to D. Nickless to request
current address for Avondale Aviation.

Review complaint, collection strategies and
issues and grounds for veil piercing.

Prepare for and conduct Rule 26(f) Conference
with Attorney Nickless’ defenses and plan next
steps in the litigation.

Strategize regarding Avondale’s defenses.

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MIRICK, O’ CONNELL

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07/07/14
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

Direct

jemurphy
JHB

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Review Avondale’s answer and affirmative
defenses.

Review open discovery, settlement issues and
strategies.

Draft Initial Disclosures and Rule 26(F) Report
and Certification for Avondale adversary
proceeding; communications with Attorney
Nickless regarding the same.

Review correspondence from trustee regarding
necessity of amended complaint.

Review pacer docket and update litigation
control sheet accordingly.

Continued review of open discovery, defense and
veil piercing issues and strategies.

Further analysis, strategies regarding
recovery, defenses, additional defendants.
Gather facts relevant to claims against
Avondale and continue drafting Initial
Disclosures.

Review open discovery issues and strategies.
Review cash flow analysis by Attorney Nickless;
follow up on inquiry to Attorney Nickless for
authority for the position that unauthorized
transfers are not preferences.

Continued attention to settlement, objection
issues and strategies.

Begin to prepare new value analysis.

Assist with new value analysis.

Continued assessment of asserted defenses, next
steps.

Review open discovery issues, next steps.
Review open discovery, pretrial issues, related
emails from opposing counsel.

Review status of case/update litigation control
sheet accordingly.

Review discovery requests to the Trustee.
Review open recovery, discovery issues and next
steps.

Continued negotiations, review open discovery
issues.

Review Avondale’s Motion to Extend Discovery >
Deadlines and strategy regarding response;
review, edit and serve Trustee’s initial
disclosures; review Avondale’s initial

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Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours, LLC)

disclosures; outline additional discovery to
request from Avondale.

Review defendant's extension motion.

Analyze response to Avondale’s Motion to Extend
Discovery; draft Trustee’s Response to
Defendant’s Motion to Extend Discovery
Deadline; communications with Attorney Nickless
regarding the same.

Review open discovery issues, extension
strategies and related pretrial matters.

Review Court’s Order; plan next steps in light
of extended discovery and Pre-Trial Order
deadlines; initial outline of Avondale
discovery.

Review Response to Avondale’s extension motion.
Assist with interpretation of Court’s extension
order.

Review discovery motion and issues and related
emails with Attorney Nickless.

Further review of open discovery, recovery
issues and strategies, upcoming pretrial
issues.

Review additional transfer, defense materials
and assess next steps.

Review status of case and update control chart
accordingly.

Review revisions to updated control chart.
Assist with possible discovery requests/format.
Further develop and draft discovery requests to
Avondale.

Assist with development of discovery requests.
Review Avondale Services Agreement with Debtor.
Avondale discovery; continued review of
Advisory Services Agreement; new value
analysis.

Strategize about discovery requests, defendant
entities, and new value analysis.

Review discovery requests, potential recovery,
vell piercing grounds.

Strategy planning regarding discovery regarding
source of buyer funds.

Run through different scenarios for new value
analysis.

Draft discovery requests to Avondale; outline

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

Trustee's discovery responses, communications
with Attorney Nickless regarding possible
settlement; review possible ordinary course

defense.

08/01/14 goneil 0025 Assist with new value analysis.

08/01/14 goneil 0025 Assist with development of discovery responses.

08/04/14 JHB 0025 Review open issues, next steps in recovery
action and strategies for resolution.

08/04/14 jemurphy 0025 Review status of adversary proceeding and
analyze likely recovery for the Estate.

08/04/14 jemurphy 0025 Further new value analysis.

08/05/14 jemurphy 0025 Continue to review Direct Air documents for
documents to produce in discovery.

08/05/14 goneil 0025 Assist with strategy for Interrogatory
responses.

08/08/14 jemurphy 0025 Analyze information and documents from Answers
to Interrogatories; outline.

08/11/14 JHB 0025 Emails with Warneck trustee regarding potential
claims v. Torbert, Avondale.

08/11/14 jemurphy 0025 ‘Further develop and draft Answers to
Interrogatories.

08/12/14 JHB 0025 Review and sign off on discovery responses and

review supporting materials (.3); devise
strategies regarding collection inquiries from
Warneck trustee (,2).

08/12/14 goneil 0025 Review draft Response to Interrogatories.

08/13/14 JHB 0025 Review pleadings from other cases, suits and
implications for recovery action.

08/14/14 jemurphy 0025 Communications with Attorney Madoff regarding

objection to settlement terms and strategy
regarding next steps.

08/20/14 jemurphy 0025 Work on identifying documents for response to
document production.
08/20/14 goneil 0025 Review discovery requests from Avondale and

consider document production responses (.3);
memorandum regarding same (.1).

08/21/14 goneil 0025 Review communications regarding discovery
response planning.
08/22/14 jemurphy 0025 Review physical and electronic Direct Air

records for responsive documents to discovery,
including Avondale's knowledge of the shortfall
and work by the consultants for value to Direct
. Air.
08/25/14 RBG 0025 Strategy planning regarding fraudulent transfer

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claim/discovery response.

Continue work on Trustee’s Response to
Avondale’s discovery requests.

Research and analysis regarding new value, veil
piercing issues, review defendant arguments,
devise recovery, settlement strategies with
litigation team.

Continue to identify and review documents for
production in discovery.

Phone call with Attorney Nickless regarding
protection of documents produced in discovery
and discussing merits of the Trustee’s claims;
review Attorney Nickless’ correspondence with
further new value analysis; initial strategy
with the Trustee regarding Avondale’s
settlement offer.

Strategize regarding merits of Avondale
subsequent new value defense to Trustee’s
preference claims.

Emails with Attorney Nickless regarding offer,
defenses (.2), continued research and analysis
regarding same (.3).

Attend to preparation of agreement for
treatment of private information in discovery.
Continued review of additional electronic
Direct Air documents for documents responsive
to Avondale Request for Production of
Documents; analyze facts and impact of the
additional documents.

Continued negotiations with Attorney Nickless
regarding asserted defenses, settlement
parameters (.8), research and analysis
regarding same (.3), review discovery issues
and materials (.3).

Discussion/strategy regarding preference claim
and defense of void contract.

Continue to review emails with H. Torbert, D.
Stukes and Avondale in advance of acquisition
regarding financial condition of Direct Air and
shortfall; further attend to identifying and
producing documents in response to Avondale’s
Request for Production of Documents; prepare
written responses and objections.

Continued review of transfer, defense issues

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Joseph H. Baldiga, Chapter 7 Trustee
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and materials, revised new value analysis from
Attorney Nickless, and strategize with Attorney
Murphy regarding discovery, recovery issues.
Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Review Attorney Nickless’ edits to discovery
and privacy agreement.

Analyze Defendant's Responses to Requests for
Admissions; review defendant's remaining
discovery due.

Analyze Attorney Nickless’ revised new value
analysis and money between Direct Air and
Avondale; strategy with Trustee regarding
settlement position and a trial on the merits.
Identify Rule 30(b) (6) topics for Avondale;
review Rules for location of deposition without
state party; draft deposition notice to

Avondale; communications with Attorney Nickless

regarding the same.

Further analysis, document review regarding
recovery issues.

Lengthy call with Attorney Nickless regarding
settlement discussions, issues (.4), related
document review, research regarding new value
issues (.6), conference with Attorney Murphy
regarding discovery issues (.2).
Communications with Attorney Nickless regarding
deposition of Hank Torbert and Avondale’s
discovery responses.

. Communications with Attorney Nickless’ office

regarding Direct.Air’s production of .pst files
in document production; review CD of produced
emails and correspondence with Attorney
Nickless’ office regarding access to the same.
Review Membership Interest Purchase Agreement
for Avondale’s obligations as part of the sale
transaction.

Review discovery transmittal letter and Notice
of Taking of Depositions.

Continue review of sale materials, asserted
defenses and further negotiations with Attorney
Nickless.

Communications with Attorney Nickless regarding

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14190 Direct Air (Southern Sky Air & Tours, LLC)

status of discovery and Pretrial Memorandum
. deadlines, and extensions of the same.
09/07/14 JHB 0025 Continued emails with Attorney Nickless. 0.30 118.50
09/08/14 JHB 0025 Continued attention to discovery issues and 0.40 158,00
strategies, review related responses,
admissions from defendant.
09/08/14 jemurphy 0025 Phone call with Attorney Nickless regarding 0.20 53.00
status of discovery; initial strategy regarding
moving for discovery extension.
09/09/14 JHB 0025 Continued negotiations with Attorney Nickless 1.40 553.00
and related defense research and analysis
(1.1); related conference with Attorney Murphy
regarding discovery, litigation and settlement
issues and strategies (.3).
09/09/14 cbhorourk 0025 Online research regarding potential assets and 2.60 507.00
background of Hank Tolbert; review Avondale
Aviation status of business; draft memo
regarding findings in preparation of settlement
discussions.
09/09/14 jemurphy 0025 Analyze merits of the case, expected outcome at 1.10 291.50
trial, costs and settlement considerations;
strategize with Trustee regarding settlement
options and next steps in litigation.
09/09/14 jemurphy 0025 Attend to asset search on Avondale and H. 1.80 477.00
Torbert; evaluate merits of Trustee’s claims
and collectability; research business judgment

rule.

09/09/14 jemurphy 0025 Review and input on discussions with Attorney 0.30 79.50
Nickless regarding settlement.

09/09/14 jemurphy 0025 Review options for compelling outstanding 0.60 159.00

discovery and sanctions; plan motion to compel
Avondale’s discovery.
09/09/14 goneil 0025 Strategize regarding case merits and trial 0.70 185.50
strategies (.5); follow up regarding Trustee's
impressions (.1); review emails between Trustee
and Avondale’s counsel regarding settlement
negotiations (.1.

09/09/14 goneil 0025 Strategize regarding mechanisms to compel 0.10 26.50
discovery responses.

09/10/14 JHB 0025 Continued attention to settlement, discovery 0.20 79.00
issues and strategies.

09/11/14 JHB . 0025 Review discovery responses, deficiencies. . 0.30 118.50

09/11/14 jemurphy 0025 Review Attorney Nickless’ new value anlaysis 0.50 132.50

and partial discovery responses; follow up on
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Chapter 7 Trustee

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further production of documents.

Review open discovery, pretrial issues and
strategies, next steps in attempted resolution,
related defense materials and responses.
Communications with Attorney Nickless regarding
past due. discovery from Avondale; strategy
regarding compelling discovery responses and
Pretrial Memorandum deadline; begin to outline
content of Pretrial Memorandum.

Review and analysis of electronic documents
produced by Avondale.

Review new discovery materials from Attorney
Nickless, assess implications (.4), emails with
Attorney Nickless regarding defense, settlement
(.2).

Continued review of discovery materials from
Attorney Nickless and emails to same regarding
implications(.4); devise pretrial strategies
with Attorney Murphy (.2).

Overview of Avondale’s discovery responses and
initial strategy with Trustee regarding
compelling further production of documents.
Strategy regarding Joint Pretrial Memorandum
and strategy with Trustee regarding pretrial
preparation and trial.

Continued negotiations with Attorney Nickless.
Review communications between Trustee and
Avondale’s counsel regarding merits of case and
potential settlement.

Continued settlement, litigation issues and
strategies.

Continue review of Avondale’s Production of
Documents.

Confer with Trustee and litigation team
regarding potential settlement.

Review additional discovery materials,
implications for recovery, settlement.

Analyze post-petition transfer from Direct Air
to Avondale. .

Review Avondale’s discovery responses and
document production.

Investigate potential post-petition transfer to
Avondale, including to research Bankruptcy Code
provisions regarding recovery of same (.6);

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Chapter 7 Trustee

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prepare memorandum regarding recovery of

transfer (.2); strategize regarding recovery of
post-petition payment from Avondale and general

case v. Avondale (.1).

Continued negotiations with Attorney Nickless,
review additional bank statements and other
transfer materials.

Additions to Joint Pretrial Memorandum;
communications with Attorney Aframe regarding
the same and request supplementation of
discovery.

Continued negotiations with Attorney Nickless
and reach agreement, review related pretrial,
approval issues and strategies.

Draft joint motion to extend time to file
pretrial memorandum, proposed order and
certificate of service.
Continue to develop and draft Joint Pretrial

‘Memorandum.

Phone call with Attorney Nickless regarding
Joint Pretrial Memorandum; attend to
preparation of Motion to Continue Pretrial
Memorandum Deadline.

Continued negotiations with Attorney Nickless
regarding settlement terms and conditions and
related pretrial, extension issues, basis for
approval motion. ,
Communications with the Trustee and Attorney
Nickless regarding settlement; edit Motion to
Continue Pretrial Memorandum Deadline; review
propose payment terms; plan other terms of the
Stipulation of Settlement.

Review memoranda regarding additional terms of
settlement (.1); strategize regarding
continuance of Joint Pretrial Memorandum
deadline (.1)

Review open settlement, drafting issues.
Review litigation, settlement status and next
steps.

Update litigation control chart.

Review payment, release issues.

Review, revise settlement stipulation, approval

motion, convey comments to Attorney Murphy.
Draft Stipulation of Settlement and Motion to

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Chapter 7 Trustee

Approve Stipulation.

Review and provide suggested edits to
Stipulation and approval motion; memoranda
regarding same.

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TASK: 0026 Adversary Proceeding

Attorney Summary

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290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De

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Telephone call with and follow-up email
Attorney Kelley regarding Hilton Garden Inn
response, including assessment and discussion
of possible settlement, and update chart to
reflect (.4).
Review email from Attorney Kelley regarding
further response for Hilton Garden Inn (.1).
Emails with Hilton Garden Inn counsel to
follow-up on response (.1).

Telephone call from Attorney Kelley (Hilton
Garden Inn) regarding response and next steps
to address (.1); email Verdolino & Lowey to
request backup (.1).

Review fax from Attorney Kelley (Hilton Garden
Inn) regarding client identification.

Review and compile backup documents regarding
Hilton Garden Inn (.3) and email same to
Attorney Kelley (.1).

Review letter from Hilton Garden Inn counsel
(.1).

Review Hilton Garden Inn preference status and
email Attorney Keeley to follow up (.1).
Review open preference issues, strategies.
Review email from Attorney Kelley (Hilton

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Garden Inn) regarding response status (.1).
Telephone call with Attorney Kelley (Hilton
Garden Inn) regarding settlement offer.

Review case file and consider Hilton Garden
Inn’s settlement offer. /

Review Hillton Garden Inn payments and invoices
in detail to identify trends and further assess
$2,500 settlement offer, and draft proposed
response to same (.9); update chart to reflect
analysis (.1).

Follow up regarding Hilton Garden Inn
negotiations.

Email Attorney Weaver (Hilton Garden Inn) with
response to settlement offer.

On-line search for contact information
regarding Hilton Garden Inn Lakeland; prepare
revised demand letter to same.

(Hilton Garden Inn Lakelana) revise and
finalize demand letter for transmittal,
Prepare second preference demand letter
regarding Hilton Garden Inn Lakeland; attention
to revisions and enclosures for same; calendar
response deadline,

Attention to preparation of Second Demand
Letter for Hilton Garden Inn - Lakeland,
including to review and revise same (.2).
Review response deadline regarding second
preference demand to Hilton Garden Inn.

Review backup materials from Verdolino & Lowey
and compile same for preparing Complaint (.4);
update chart regarding same (.1).

(Re: Hilton Garden Inn) Review demand,
supporting documents, correspondence and claims
register; draft complaint and cover sheet and
review/revise same. ,

Search Secretary of State website and other
avenues for proper defendant ownership
information (.7); commence revising Complaint
(.4).

Telephone call to Trans Inn Management
representative regarding ownership interest in
Lakeland property (.1); research hotel
ownership information, including with calls to
Secretary of State and Town of Lakeland

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Chapter 7 Trustee

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assessor (1.1); telephone call with property
management company to ascertain owner
information (.2); compile demand and backup
materials, and email management company with
information regarding same (.5); revise AP
Cover Sheet (.1) and continue revising
Complaint (.4).

Continue revising Hilton Garden Inn Complaint,
including to add. new count under Section 549
(.4); memorandum to Trustee regarding same
(.1)..

Review revised Complaint; make further edits,
and cross-check exhibits iwth payments listed
in Complaint.

Finalize Complaint for filing (.1); execute,
and attend to filing logistics (.1).

Attention to issuance and service of Summons.
Review email from Mr. Jin attaching backup for
hotel charges and consider impact of same on
newly-filed Complaint.

Prepare letter to defendant enclosing
complaint/summons; attention to revisions to
same,

Track answer deadline; attention to efiling of
certificate of service.

Attention to service of process issues.

Review and execute Complaint and Summons
package.

Research allegation regarding antecedent debt
and confer with Trustee regarding amendment of
Complaint.

Review backup documents from Mr. Jin.

Review and assess backup documents from Mr. Jin
(.7); email P. Bley for additional information
regarding certain payments (.1); update chart
regarding analysis (.1).

Review email from P. Bley attaching augmented
bank record information.

Consider additional amendments to Complaint.
Strategize regarding amendment to Complaint
(.1); confer with Trustee regarding same (.1).
Prepare Amended Complaint (.2); execute
Complaint and attend to filing of same (.1).
Prepare certificate of service regarding

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

amended complaint and transmittal letter for
amended complaint; finalize all for efiling and

service.
03/28/14 kmdellec 0026 Track proof of service. 0.10 18.50
04/01/14 JHB 0026 Review open recovery, defense issues and 0.20 78.00
emails.
04/01/14 goneil 0026 Telephone call with Attorney Sanoba regarding 0.70 178.50

representation and answer deadline (.2); review
previously-provided materials in connection
with same (.2); email backup information to
Attorney Sanoba (.3).

04/04/14 JHB 0026 Call and emails from Attorney Ehrhard regarding 0.20 78.00
defense issues.

04/05/14 goneil 0026 Review memoranda regarding defendant's 0.10 25.50
engagement of local counsel.

04/07/14 goneil 0026 Three telephone calls with Atty. Ehrhard 0.30 76.50

regarding Answer (.2); emails with Trustee
regarding same (.1).

04/10/14 goneil 0026 Telephone call from Atty. Ehrhard regarding 0.10 25.50
amended Complaint and answer deadline.

04/14/14 goneil 0026 Review next steps regarding Pretrial Order. 0.10 25.50

04/28/14 goneil 0026 Review Court’s Pretrial Order, calculate 0.70 178.50

relevant dates, and track same (.3); email
Atty. Ehrhard regarding planning for 26(f)
conference (.2); follow up regarding settlement
strategy (.1) and alternate deadline (.1).

05/01/14 goneil 0026 Email Atty. Ehrhard to follow up regarding 0.10 25.50
26(£) conference.
05/02/14 goneil 0026 Conduct 26(f£) Conference with Atty.Ehrhard 0.40 102.00

(.2); email claim documentation to Atty.
Ehrhard (.2).

05/13/14 goneil 0026 Attention to Rule 26(f) requirements. 0.10 25.50
05/14/14 goneil 0026 Prepare 26(f) Conference Certification (.2); 0.50 127.50
prepare Trustee’s Initial Disclosures (.3).
05/14/14 goneil 0026 Review. 26(f£) Certification. 0.10 25.50
05/15/14 JHB 0026 Review draft discovery report, open case 0.30 117.00
, issues, parameters for settlement.
05/15/14 goneil 0026 Finalize 26(f) Report and Trustee’s Initial 0.30 76.50
Disclosures and email same to Atty. Ehrhard for
review..
05/16/14 goneil 0026 Emails with Atty. Ehrhard regarding 26(f) , 0.20 51.00
, Conference Report (.1); attention to filing ,
same (.1).

05/20/14 goneil 0026 Prepare for discovery requests. 0.10 25.50
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Joseph H. Baldiga, Chapter 7 Trustee
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Review complaint and answer; draft plaintiff's
first set of interrogatories, plaintiff's first
request for admissions and first request for
production of documents.

Review and revise discovery requests.

Review status of matter and email Atty. Ehrhard
regarding Initial Disclosures and potential
resolution.

Review open settlement, discovery issues and
related calls with Attorney Ehrhard.

Telephone calls with Atty. Ehrhard regarding
Complaint and defenses (.1); confer with
Trustee regarding same (.1).

Review pacer docket and update litigation
control sheet accordingly.

Attention to discovery deadlines, planning, and
requests.

Telephone call with Atty. Ehrhard regarding
defendant’s initial disclosures.

Review open discovery issues, strategies to
compel .

Memoranda with Trustee regarding disclosures.
Receive and reject offer, devise counteroffer
strategies and review additional case
materials.

Telephone call from Atty. Ehrhard regarding
settlement offer (.1); review prior offers and
develop recommendation (.2); email Trustee with
recommendation (.1); respond to Atty. Ehrhard
with counterproposal (.2).

Review and revise discovery requests including
Request for Production of Documents, Request
for Admissions, and Interrogatories, including
to identify discrepancies in Complaint and to
research post-petition transfer counts.

Review discovery issues and materials.

Assist with finalization and transmittal of
discovery requests.

Review and further revise discovery requests
(.5); prepare letter to Atty. Ehrhard (.2);
finalize and send discovery package (.2); track
response deadline (.1).

Negotiations with Attorney Ehrhard (.3), review
additional defense, discovery materials (.3).

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

06/20/14 goneil 0026 .20 51.

settlement proposal (.2).

06/25/14 JHB 0026 Further analysis, devise settlement parameters. .30 117.

06/25/14 goneil 0026 Review settlement history and demand in order -60 153
to develop/confirm settlement proposal (.3);
email Attorney Ehrhard with Trustee’s final
offer (.3).

06/27/14 JHB 0026 Continued negotiations with Attorney Ehrhard. .30 117.

96/27/14 goneil 0026 Two telephone calls with Atty. Ehrhard .40 102.
regarding settlement (.2); confer with Trustee
(.1) and follow up regarding same (.1).

96/28/14 JHB 0026 Continued negotiations with Attorney Ehrhard. .20 78,

36/28/14 goneil 0026 Review memorandum from Trustee regarding .10 25.
additional negotiations with Atty. Ehrhard.

96/30/14 kmdellec 0026 Review status of case/update litigation control 20 37.
sheet accordingly.

37/08/14 JHB 0026 Continued negotiations with Attorney Ehrhard .20 79.
regarding settlement, discovery.

17/08/14 goneil 0026 Email Atty. Ehrhard regarding settlement and .20 53
discovery status (.1); telephone call with
Atty. Ehrhard regarding same (.1).

17/09/14 JHB 0026 Continued negotiations, review open discovery «20 79,
issues.

37/10/14 JHB 0026 Continued negotiations and reach settlement. .30 118.

17/10/14 JHB 0026 Further emails with Attorney Ehrhard regarding .20 79,
settlement, release details.

17/10/14 kmdellec 0026 Review file information; draft. stipulation, .80 351.
motion to approve, motion to limit notice and ,
certificate of service.

17/10/14 goneil 0026 Memoranda with Trustee about passage of .40 106.
discovery deadline (.1); emails with Atty.

Bhrhard regarding settlement (.1); attention to
preparation of settlement pleadings (.2).

17/11/14 kmdellec 0026 Review and revise settlement pleadings; update .70 136.
service list.

)7/11/14 kmdellec 0026 Revisions to service list in connection with .20 39.
settlement pleadings.

17/15/14 goneil 0026 Follow up regarding draft settlement pleadings. .10 26.

17/16/14 goneil 0026 Attention to Certificate of Service regarding .10 26.
settlement pleadings.

17/16/14 goneil 0026 Commence reviewing Settlement Agreement. .20 53.

17/22/14 JHB 0026 Review open release issues for settlement. 0.10 39.

17/22/14 goneil 0026 Emails with Trustee regarding settlement .10 26.

Confer with Trustee regarding Hilton's

status.

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15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Review status of case and update control chart
accordingly.

Review and revise Stipulation.

Review revisions to updated control chart.
Review and revise Motion to Approve Settlement
(.3); review and revise Motion to Limit Notice
(.1) and Certificate of Service (.1).

Review proposed settlement agreement, motion.
Track status of settlement agreements; calendar
for response from Attorney Ehrhard. ‘

Finalize settlement agreement for defendant's
review (.1); further revise approval motion
(.2); finalize Motion to Limit Notice and
Certificate of Service (.1); email Atty.
Ehrhard with draft settlement agreement (.1).
Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

Review open issues, next steps in recovery
action and strategies for resolution.

Devise strategies, support for settlement.
Email Atty. Ehrhard regarding Stipulation
status (.1); attention to upcoming litigation
deadlines (.1).

Prepare Motion to Extend Pretrial Order
Deadlines.

Review status of settlement, need for pretrial
extension, and related emails with Attorney
Ehrhard.

Track electronic mails from Attorney Ehrhard
regarding settlement pleadings and motion to
continue deadlines; calendar ahead.

Revise Motion to Extend Deadlines (.3); email
Atty. Ehrhard with proposed Motion (.1);
additional emails with Atty. Ehrhard regarding
settlement approvals (.2).

Review, revise settlement motion and review
underlying release terms.

Further revise approval motion (.2); finalize
approval package for Trustee’s review (.1) and
confer with Trustee regarding same (.1); review
Court's Order approving extension of deadlines
and track new deadline to file settlement
pleading (.1).

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Email Atty. Ehrhard to follow up regarding
status of Stipulation.

Two telephone calls with Attorney Ehrhard
regarding Stipulation signature and payment;
confirm receipt of signed Stipulation and
settlement check, including memoranda regarding
same.

Assist with efiling/service of settlement
pleadings.

Follow-up regarding as-filed settlement
pleadings.

Review and further edit Settlement Agreement
and approval package (.4); finalize settlement
pleadings and email Settlement Agreement to
Atty. Correa for review (.2).

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Receipt of order approving settlement; calendar
ahead regarding dismissal of adversary
proceeding,

Review and track Order Approving Settlement
(.1); update Status Chart (.1).

Track order allowing settlement; calendar ahead
regarding entry of final order and dismissal of
adversary proceeding.

Follow up regarding approved Stipulation.
Telephone call (.1) and follow up email (.1)
with Atty. Ehrhard regarding settlement
approval.

Review timing of final order and next steps for
dismissal.

Check pacer docket as to whether or not
Bankruptcy Court issued a dismissal regarding
the adversary proceeding; draft stipulation of
dismissal and certificate of service;
review/revise and confirm service list and
opposing counsel contact information.

Review draft Stipulation of Dismissal and email
same to Atty. Ehrhard for signature (.1);
finalize dismissal package, execute, and attend
to e-filing same (.1).

Update litigation control chart.

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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TOTAL 46.90

TASK: 0028 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O’Neil
274 kmdellec Kimberly M. De

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Review and assess Sanford Airport Authority’s 0.70
(Orlando/Sanford International Airport)

preference response, including development of

next steps to track down actual payee for

certain of the transfers, research into other

possible payees, and assessment of defenses

regarding the one transfer that Sanford Airport
Authority actually received (.6); update chart

to reflect analysis regarding Orlando/Sanford

(.1).

Attention to next steps regarding further 0.30
demands on other Orlando/Sanford entities (.3).

Follow up regarding demands to Orlando/Sanford 0.10
International (.1).

Review backup for Orlando/Sanford 0.70
International, identify unusual "suspense

account" payment (.4), email P. Bley to follow

up regarding same (.1), follow up regarding

demands to Orlando/Sanford International (.1),

and update chart to reflect (.1).

Review email from P. Bley regarding 0.50
Orlando/Sanford backup .(.1) and update chart to

reflect NFA for unknown $57K "suspense account"

transfer (.1); additional emails with P. Bley

and team regarding possible: preliminary

' identification of $57K transfer and inclusion

of same in Orlando/Sanford demand (.3).
(Re: Orlando Sanford International Airport) 1.70
Review demand and file

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Chapter 7 Trustee

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information/correspondence from accountant
(.5); draft complaint and cover sheet and
review/revise same; attention to exhibits for
complaint (1.2).

(Re: Orlando Sanford) On-line search regarding
airport organization and revisions to complaint
based on search results.

Strategize regarding contents of Complaint and
calculation of demand amount.

Review and revise Complaint and AP Cover Sheet,
including to research entity information for
Orlando Sanford International, Inc. and to
review transfer backup to ensure inclusion of
all appropriate transfers.

Finalize complaint for efiling.

Revise, finalize, and execute Complaint and AP
Cover Sheet for filing (.3); confer with
Trustee regarding inclusion of airport check
and "suspense account" payment (.1).

Attention to issuance and service of Summons.
Letter to defendant enclosing
complaint/summons; attention to revisions and
service of same.

Track answer deadline; attention to efiling of
certificate of service.

Review and revise Complaint and Summons
package.

Attention to service and summons.

Research allegation regarding antecedent debt
and confer with Trustee regarding amendment of
Complaint.

Prepare amended complaint to include antecedent
debt provision; review and revise same.

Track return of service.

Track amended complaint/amended summons.
Review and execute Amended Complaint;
memorandum regarding same.

Prepare certificate of service regarding
amended complaint and transmittal letter for
amended complaint; finalize all for efiling and
service.

Review and execute Certificate of Service
regarding amended Complaint.

Consider Defendant’s request for Answer

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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Chapter 7 Trustee

deadline extension (.1); memorandum to Trustee
with pertinent information (.1); email Atty.
Shuster regarding same (.1).

Track proof of service.

Review email from Atty. Shuster regarding
extension Motion (.1); review and edit
Defendant’s Motion to Extend Answer Deadline
(.1).

Execute revised Motion to Extend Answer
deadline and email same to counsel (.1); review
Court's Order extending Answer deadline and
track new deadline (.1).

Analysis, response strategies regarding
asserted defenses.

Emails with Atty. Shuster regarding response to
Complaint.

Review analysis from Atty. Shuster regarding
new value and ordinary course defenses (.2);
email Atty. Shuster to request additional
information (.1); email Trustee regarding
analysis (.1); update preference chart (.1);
review email from Atty. Shuster attaching
invoices (.1).

Review invoices provided by Atty. Shuster and
conduct complete new value analysis based on
service dates and removal of various public
service fees.

Emails with Atty. Shuster regarding extending
Answer deadline (.1); memoranda with Trustee
about analysis and response (.2); review and
track Court’s Order extending deadline (.1).
Continue evaluating defenses and possible
counteroffer.

Commence settlement email to Atty. Shuster
(.4); emails with Atty. Shuster regarding
status of settlement (.1).

Review email from Atty. Shuster regarding
status and follow up with Trustee regarding
same.

Review settlement issues and strategies, revise
counter-proposal and review related defense
materials.

Research PFCs v. landing fees (.3) and prepare
recommended response to Orlando/Sanford, with

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Joseph H. Baldiga,

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Chapter 7 Trustee

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settlement proposal (.8); review Trustee's
comments regarding same (.1); update new value
spreadsheet (.1); implement Trustee's suggested
edits into response and send same to Atty. ~
Shuster (.3).

Review pacer docket and update litigation
control sheet accordingly.

Continue negotiations to resolve, review
response and defenses raised, reach settlement.
Review file correspondence as to settlement
discussions; prepare stipulation, approval
motion, motion to limit and certificate of
service; confirm service list; review and
revise all (x2).

Review and assess counterproposal email and
confer with Trustee regarding same (.2); attend
to preparation of settlement papers (.2);
respond to Atty. Shuster with settlement
approval and logistics information (.2); emails
with Atty. Shuster regarding W-9 (.1).

Review email from Atty. Shuster regarding
extension of Answer deadline in context of
settlement.

Review, comment on draft settlement agreement.
Track transmittal of proposed stipulation to
Attorney Shuster via electronic mail.

Follow up regarding Stipulation status (.1);
finalize Stipulation for review (.2) and email
same to Atty. Shuster (.1)..

Review and revise Stipulation of Settlement.
Negotiations regarding form of agreement,
release provisions, and review revised
agreement.

Review defendant's requested redline changes to
Stipulation (.1); emails with Atty. Shuster
regarding requested release and affiliated
release parties (.2); memorandum to Trustee
with recommended edits to Stipulation (.1);
revise Stipulation to reflect parties’
requested edits (.3); further revise and
finalize same, and email to Atty. Shuster for
review (.3); review, revise, and conform Motion
to Approve to updated Settlement Agreement
(.4); review and revise Motion to Limit Notice

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

06/10/14 kmdellec 0028 Track receipt of signed settlement agreement 10
from Attorney Shuster.
06/11/14 JHB 0028 Review open settlement issues, agreement -20 78
revisions.
06/11/14 goneil 0028 Review email from Attorney Shuster regarding .10 25.
stipulation.
06/11/14 goneil 0028 Execute Stipulation and email Attorney Shuster 50 127.
regarding same (.1); review and revise approval
motion (.2); finalize stipulation approval
package for filing and attend to filing same
(.2).
06/23/14 kmdellec 0028 Review status of receipt of settlement .10 18.
proceeds.
06/24/14 kmdellec 0028 Track receipt of settlement proceeds. .10 18.
06/24/14 goneil 0028 Confirm receipt of settlement funds. .10 25.
06/30/14 kmdellec 0028 Review status of case/update litigation control .20 37.
sheet accordingly.
07/08/14 kmdellec 0028 Track approval order. .10 19.
07/08/14 goneil 0028 Review Court’s Order approving Stipulation, -40 106.
track dismissal information, confirm payment,
update chart, and attend to file wrap-up.
07/17/14 kmdellec 0028 Draft notice of voluntary dismissal and 50 97.
certificate of service; confirm service list;
review and revise.
07/23/14 goneil 0028 Review dismissal timing. .10 26.
07/25/14 kmdellec 0028 Review status of case and update control chart -10 19,
accordingly.
07/28/14 kmdellec 0028 Review revisions to updated control chart. .10 19.
07/28/14 goneil 0028 Review and revise Notice of Voluntary 40 106.
Dismissal, including to review Bankruptcy Rules
in connection with same (.3); finalize Notice
of Dismissal (.1).
07/29/14 kmdellec 0028 Finalize notice of voluntary dismissal for .20 39.
: e-filing and service; update control sheet
accordingly.
07/29/14 goneil 0028 Finalize and execute Notice of Withdrawal and .20 53
Certificate of Service for filing (.1);
attention to file wrap-up (.1).
08/01/14 kmdellec 0028 Review Form 2 and update litigation control .10 19.
chart as to settlement proceeds
received/expected.
08/13/14 Review new docket entries regarding closing of .10 26.

goneil 0028

(.1); rveview and revise Certificate of Service
and service list regarding same (.1).

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Joseph H. Baldiga,

08/29/14 kmdellec 0028

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F (Part 4)

Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Invoice Number ******

adversary proceeding; attend to matter wrap-up.
Review adversary proceeding and main case
dockets and update litigation control sheet

accordingly.

TOTAL

TASK: 0029 Adversary Proceeding

Attorney Summary

290 goneil Gina B. O’Neil
274 kmdellec Kimberly M. De

TYPE 0029

Time Detail

07/16/13

07/30/13

08/19/13

08/29/13
09/11/13
09/17/13
09/24/13

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Hours

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10.70 1,

23.70 5,

Value

315.00
982.50

297.50

Review and assess preference response from
Employers’ Innovation Network (EIN Management),
including to cross-check payments and new value
information against Debtor’s SOFA and Trustee’s
demand, research possible insider connections
of EIN to Debtor in light of counsel’s
representations regarding same, identify
additional information needed to further assess
preference response, and email Attorney Joseph
to request same (1.9); identify and contact
possible successor counsel to EIN (.3).

Follow up with Attorney Riley regarding EIN
response and representation.

Review EIN Management preference file in
preparation to make recommendations to Trustee

(.2).

26.20

Hours

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Review emails from Debtor’s counsel and Trustee 0.10
regarding EIN’s insider status (.1).

Email Debtor’s counsel to follow-up regarding
BIN insider status (.1).

Review email from M. Whitehouse regarding EIN

invoices (.1).

Memoranda regarding possible insider status of

EIN.

Review EIN materials in preparation for

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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questions to founders about insider status and
reservation center.

Develop recommendation for Trustee regarding
EIN (.3) and update chart regarding same (.2).
Review and assess EIN preference information,
including deposition testimony from Kay and
Judy regarding insider status and including
assessment of new value (1.2).

(Re: EIN Management) Review demand, supporting
documents, correspondence and claims register;
draft complaint and cover sheet and
review/revise same.

(EIN Management) Review additional revisions to
adversary complaint (x2).

(EIN) Review Bankruptcy Code sections regarding
recovery of post-petition transfers,

(EIN) Review status of Complaint and consider
tolling issues with respect to post-petition
transfer, if necessary.

Prepare letter to defendant enclosing
complaint/summons; review revisions to same.
Review and revise Adversary Proceeding cover
sheet (.2); commence review of Complaint (.6).
Review and revise Complaint, including to
cross-check payments (1.0); review revisions
and further edit Complaint (.2); finalize
exhibits to same (.2).

Track answer deadline; attention to efiling of
certificate of service.

Attention to Summons.

Assist with service issues regarding summons.
Review and revise service letter (.1); review
and execute Certificate of Service regarding
Complaint and Summons (.1).

Research allegation regarding antecedent debt
and confer with Trustee regarding amendment of
Complaint.

Prepare amended complaint to include antecedent
debt provision; review and revise same.

Track return of service.

Telephone call from EIN’s counsel regarding °
settlement offer (.4); memoranda with Trustee
regarding same (.1).

Review/track response of EIN’s counsel.

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Track settlement/preparation of settlement
package.

Review subfile to evaluate EIN’s defenses and
settlement proposal (.2); memorandum to Trustee
and team regarding settlement pleadings (.1).
Email Atty. Riley regarding Settlement (.1);
consider timing issues regarding settlement and
answer deadline (.2); email Atty. Riley
regarding extension of Answer deadline (.1);
develop Motion to Extend Answer Deadline (.1).
Draft assented-to motion to extend answer
deadline, proposed order and certificate of
service (1.0); draft stipulation of settlement,
motion to approve, motion to limit and
certificate of service (1.8); review and revise
all and confirm service list (1.1).

Follow up regarding settlement documents.
Review and revise Settlement Agreement (.4);
review and revise Motion to Extend Answer
Deadline (.2).

Revise assented-to motion to extend answer
deadline for filing prior to completion of
settlement pleadings.

Review.and revise Motion to Extend Answer
Deadline (.2); finalize, execute, and attend to
filing same (.2); telephone call with Atty.
Riley regarding settlement (.1); review and
track Court’s Order extending deadline (.1);
email Atty. Riley with Motion and Order (.1).
Review and further revise Stipulation (.3);
review and revise Motion to Approve (.2);
review Motion to Limit Notice and Certificate
of Service (.1).

Finalize Settlement Agreement and email to
Atty. Riley (.1); review and finalize
settlement approval package (.1).

Track electronic mail from A. Riley as to form
of stipulation; calendar ahead.

Review email from Atty. Riley regarding
acceptance of Stipulation.

Track status of settlement pleadings.

Emails with Atty. Riley regarding approval
motion and signed Stipulation (.1); follow up
regarding filing approval package (.1).

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Finalize settlement pleadings for efiling and
service; track order approving motion to limit.
Emails with Atty. Riley regarding approval
documents (.1); finalize Stipulation and
approval documents ard attend to filing of same
(.2).

Forward copy of fully executed stipulation to
Attorney Riley via electronic mail; prepare
stipulation of dismissal.

Track receipt of signed settlement agreement
and settlement proceeds.

Track electronic mail. from Attorney Riley
requesting status of stipulation.

In response to counsel’s inquiry, check docket
and email Atty. Riley regarding Stipulation
status.

Review Court’s Order approving EIN Stipulation,
email same to Atty. Riley, update chart, and
wrap up subfile.

Track approval order; confirm receipt of
settlement funds; review proposed stipulation
of dismissal and draft certificate of service
regarding same; calendar ahead regarding filing
of stipulation. .

Review pacer docket and update litigation
control sheet accordingly; telephone call to
Bankruptcy Court regarding entry of default.
Revise/review notice of dismissal.

Receipt of notice from Bankruptcy Court of
closed adversary proceeding; update control
sheet accordingly and confirm no outstanding
issues.

Review and revise Stipulation of Dismissal to
conform with Bankruptcy Rules regarding
dismissal (.2); attention to Clerk’s previously
entered default notice in context of dismissal
(.1).

Review and revise Notice of Dismissal.

Review Court’s notice of adversary proceeding
case closure (.1).

Review status of case and update control chart
accordingly.

Review revisions to updated control. chart.
Review Form 2 and update litigation control

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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chart as to settlement proceeds
received/expected.

TOTAL

TASK: 0030 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De

TYPE 0030

Time Detail

10/08/12

02/20/14

02/20/14

02/21/14

02/26/14

03/04/14

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05/28/14

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Hours Value Rate
2.70 1,061.00 392.96
21.10 5,505.50 260.92
5.10 974.50 191.08
28.90 7,541.00

Telephone call to Atty. Fraser regarding
preference response.

Telephone call with Atty. Fraser (Xtra Air)
regarding ordinary course and escrow defenses
(.4) and follow up regarding same (.1), update
chart to reflect call (.1).

(TEM Enterprises dba Xtra Airways) Review
demand and supporting documents; review pacer
to determine proof of claim filed by defendant,
if any; draft and review/revise adversary
complaint and cover sheet.

Review email from Atty. Fraser (Xtra Air)
regarding spreadsheet, defenses, and possible
insolvency (.1).

Telephone call from Atty. Fraser (Xtra Air)
regarding preference demand follow-up (.1).
Confer with Trustee regarding possibility of
Tolling Agreement, email Atty. Fraser regarding
same, and confirm company names for Tolling
Agreement.

Review email from Atty. Fraser (Worldwide
Plight) regarding escrow account information.
Review email from Xtra Air counsel regarding
status of analysis.

Email Xtra Air’s counsel regarding review

23.70 5,297.50
' Hours Value
0.30 73.50
0.10 25.50
0.60 153.00
1.80 333.00
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Joseph H. Baldiga,

Direct Air

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Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

status (.1).

Review asserted defenses, background materials,
and devise related settlement strategies.
Review file materials and correspondence in
order to further evaluate defenses (.3);
conduct new value analysis based on complete
excel spreadsheet from Atty. Fraser (1.1);
conduct additional ordinary course analysis
based on new spreadsheet (1.3); develop
recommendations regarding next steps and draft
settlement proposal to Xtra Air (1.1);
memorandum to Trustee regarding analysis,
proposal, and merits of his case (.4).
Finalize settlement proposal email and send to
Atty. Faser.

Review email from Attorney Fraser regarding
Second Tolling Agreement and status of
settlement proposal.

Review implications of bankruptcy filing,
related tolling, claim, defense considerations.
Draft/review second tolling agreement.

Review initial pleadings filed in Xtra Air's
new bankruptcy case and consider implications
on Trustee’s claim (.4); review Bankruptcy Code
and case law to determine possible impact of
bankruptcy filing on statute of limitations
(.3); memorandum to Trustee regarding same
(.3); additional memoranda with Trustee
regarding Code sections and further
analysis/assessment of claims (.6).

Telephone call from Attorney Fraser regarding
Second Tolling Agreement (.1); emails with
Attorney Fraser and Trustee regarding same
(.2).

Review response and counteroffer from Attorney
Fraser.

Review status of tolling, settlement matters
and implications of transferee C. 11 filing.
Review email from Attorney Fraser regarding
Xtra Air’s bankruptcy petition (.1); confer
with Trustee regarding bankruptcy and
additional analysis (.1).

Review C. 11 pleadings, implications for
claims.

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

06/24/14 goneil 0030 Review mailed pleadings in Xtra Air bankruptcy 0.10 25.50
case.
06/28/14 goneil 0030 Review memoranda regarding case status and 0.10 25.50
negotiations. |
06/30/14 goneil 0030 Review mailed pleadings from debtors in Xtra 0.10 25.50
Air case,
07/07/14 goneil 0030 © Review cash collateral pleadings from Xtra 0.10 26.50
Air's bankruptcy.
08/05/14 goneil 0030 Follow up regarding settlement issues in 0.10 26.50
/ bankruptcy context.
08/11/14 goneil 0030 Review docket and track Xtra Air bar date. 0.20 53.00
08/21/14 kmdellec 0030 . Review status of claim bar date (10/8/14) in 0.10 19.50
: Xtra Airways bankruptcy case.
09/02/14 goneil 0030 Review Xtra Air’s Notice of bankruptcy filing 0.10 26.50
in Direct Air case.
09/08/14 JHB 0030 Review status of settlement discussions, next 0.20 79.00
steps in recovery efforts, and upcoming tolling
expiration.
09/09/14 goneil 0030 Review case materials and develop 1.30 344.50

recommendation for Trustee regarding claim
(.8); review Xtra Air bankruptcy case
materials, including Disclosure Statement and
Plan, and develop further recommendation based
on same (.5).
09/10/14 JHB 0030 Review memo regarding case issues and 0.30 118.50
strategies, implications of C. 11, and devise
strategies to resolve.
09/10/14 goneil 0030 Draft summary memorandum to Trustee regarding 1.10 291.50
Xtra Air claim and bankruptcy case analysis, ,
with recommendation (.8); follow up memoranda
(.1) and telephone call with Trustee (.1) and
consider next steps (.1) in light of same.

09/15/14 JHB 0030 Review, revise proposed settlement email and 0.20 79.00
review underlying transfer, bankruptcy
materials.

09/15/14 goneil 0030 Draft memorandum to Xtra Air's new bankruptcy 1.00 265.00

counsel proposing settlement of claims (.7);
memoranda with Trustee regarding same (.1);
update settlement proposal and send to Xtra
: Air's counsel for consideration (.2),
09/16/14 JHB 0030 Further analysis regarding claim settlement, 0.10 39.50

likely C. 11 dividend.
09/16/14 goneil 0030 Review response from counsel regarding 0.20 53.00

settlement proposal. (.1); consider Proof of
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: : Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

Claim timing in context of potential settlement
(.1).

09/16/14 goneil 0030 ‘Strategize with Trustee about filing Proof of 0.10 26.50
Claim.

09/17/14 JHB 0030 Negotiations regarding settlement of claim v. 0.20 79.00
vendor.

09/17/14 kmdellec 0030 Draft proof of claim, attachment, declaration , 0.70 136.50
: and certificate of service; review pacer docket
to determine service list; review/revise all.
09/17/14 goneil 0030 Telephone call with Attorney Works regarding 0.80 212.00
Xtra Air preference resolution (.2); consider
strategies for addressing claim approval in two
bankruptcy courts (.2); review email from Atty.
Works regarding resolution (.1); emails with
Trustee regarding same (.3).

09/18/14 JHB 0030 Continued attention to claim settlement, 0.20 79.00
recovery prospects and related approval issues.
09/18/14 goneil 0030 Emails with Xtra Air’s counsel regarding 1.00 265.00

settlement logistics and confirmation timing
(.3); commence drafting Settlement Agreement
(.5); attention to preparation of Proof of

Claim (.2).
09/22/14 kmdellec 0030 Create query for service list in connection 0.20 39.00
with settlement pleadings. ,
09/22/14 goneil 0030 Continue drafting Settlement Agreement. 0.50 132.50
09/22/14 goneil 0030 Review memorandum supporting Plan. 0.10 26.50
09/23/14 kmdellec 0030 Attention to revisions to proof of claim; 0.50 97.50

review bankruptcy court website (State of
Nevada) to determine procedure for filing proof
of claim and if ECF login/password is required.
09/23/14 goneil 0030 Emails with Xtra Air’s counsel regarding Proof 3.20 848.00
of Claim (.1); continue drafting Settlement
Agreement (.4); and Motion to Approve
Settlement Agreement (.3); prepare Motion to
Limit Notice (.1) and Certificate of Service
(.1); review and revise Proof of Claim (.2);
further revise Settlement Agreement (.5);
further revise approval motion (.5); conform
Motion to Limit Notice and Certificate of
Service (.1); further revise Proof of Claim
(.2); additional revisions to approval motion
and finalize total package, including Proof of
Claim, for Trustee’s review (.7).
09/23/14 goneil 0030 Review new docket entries regarding Plan 0.10 26.50
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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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confirmation,

Review and revise settlement pleadings and PoC
(.4), related strategies regarding dual
approval, comments from opposing counsel.
Review track email with opposing counsel
regarding timing for filing settlement
pleadings/proof of claim; calendar ahead.
Finalize executed Proof of Claim package and
finalize Stipulation package for defendant's
review (.1); email documents to Atty. Works for
review and signature (.1).

Emails with Atty. Works regarding his requested
edits to Stipulation, and revise Stipulation
and Motion to Approve (.3); attention to filing
logistics regarding Proof of Claim (.1).
Coordinate efiling/service of proof of claim
with USBC- District of Nevada on behalf of
trustee.

Finalize Stipulation package for filing (.1);
review memorandum regarding Proof of Claim
filing and review as-filed Proof of Claim (.1);
finalize Stipulation approval package for
signature (.1); update preference tracking
chart (.2).

Follow up regarding filed Proof of Claim and
correcting errors in Court’s electronic claim
record (.1); attention to e-filing Stipulation
package (.1).

Follow up regarding proof of claim filing and
timing.

Complete change of address form for USBC-
District of Nevada; summarize options for
correcting mailing address on proof of claim
filed by trustee in Xtra Airways bankruptcy
case.

Revise/review change of address forms regarding
proof of claim; summarize options to amend
mailing address on claim filed with Bankruptcy
Court - District of Nevada; attention to
efiling of amended claim.

Attention to issues regarding amending address
on court-generated Proof of Claim.

Follow up regarding Court’s additions to Proof
of Claim cover page.

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MIRICK, O’ CONNELL Page266
Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

10/06/14 goneil 0030 Attention to entry of Confirmation Order. 0.10 26.50

10/06/14 goneil 0030 Review mailed Plan support documents. 0.10 26.50

10/07/14 goneil 0030 Review new docket entries (.1) and Plan 0.20 53.00
Confirmation Order (.1).

10/09/14 goneil 0030 Follow up regarding logistics of amending 0.20 53.00

address on claim (.1); review and execute
limited log-in application (,1).
10/10/14 kmdellec 0030 Letter to USBC - District of Nevada enclosing 0.10 19.50
original executed CM/ECF limited user
registration form.

10/14/14 goneil 0030 Review Xtra Air Confirmation Order and related 0.20 53.00
amended Plan documents.

10/17/14 goneil 0030 Attention to issues regarding amending Proof of 0.10 26.50
Claim form.

10/21/14 goneil 0030 Track Court’s order approving Stipulation (.1); 0.20 53.00

emails with Xtra Air’s counsel regarding
Stipulation and Proof of Claim status (.1).
10/22/14 kmdellec 0030 Track response from debtor's counsel (Tem 0.30 58.50
Enterprises) confirming proof of claim filed by
trustee; finalize file/notes.

10/22/14 goneil 0030 Attention to matter wrap-up including final 0.20 53.00
claims issues.
10/24/14 kmdellec 0030 Update preference chart as to current 0.10 19.50
status/deadlines.
TYPE 0030 TOTAL 28.90 7,541.00

TASK: 0031 Adversary Proceeding

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 6.60 2,605.00 394.70

290 goneil Gina B. O'Neil 35.30 9,262.50 262.39

281 jemurphy Jessica E. Mur 3.20 848.00 265.00

274 kmdellec Kimberly M. De 4.00 762.00 190.50

TYPE 0031 TOTAL 49.10 13,477.50

Time Detail Hours Value
10/01/12 goneil 0031 Emails with Attorney Hutchinson (Avfuel) 0.10 24.50

regarding extended response deadline, and
update chart (.1).
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MIRICK, O'CONNELL

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Review emails from Attorney Hutchinson (Avfuel)
attaching multiple invoices, attend to same,
and update chart (.4); review new final
analysis email from Attorney Hutchinson
indicating credit owed to Estate, and email
Trustee regarding same (.2).

Review extensive preference response with
voluminous historical invoice backup to assess
Avfuel’s contemporaneous exchange and ordinary
course defenses (.8); consider additional
defenses, such as new value (.2); develop
recommendation for Trustee (.3); update chart
to reflect analysis (.2).

(AVFuel) Review demand/back-up information and
claims register to determine if defendant filed
proof of claim; draft complaint and adversary
cover sheet; review and revise same.

Memorandum to Trustee regarding status,
negotiations, and Tolling Agreement (.3);
attention to updated status (.1); review and
revise Complaint (.3); prepare for call and
telephone call with Atty. Hutchinson regarding
preference liability (.3); email Atty.
Hutchinson with preference analysis and Tolling
Agreement (.6); finalize Complaint and exhibits
(.2); telephone call with Atty. Hutchinson
regarding comments on Tolling Agreement and
follow up regarding same (.2); multiple calls
and emails with Atty. Hutchinson to revise and
finalize Tolling Agreement, including to assess
added language regarding injunction (.9); email
final Tolling Agreement to Atty. Hutchinson
(.2).

Finalize Complaint and exhibits (.2); telephone
call with Atty. Hutchinson regarding comments
on Tolling Agreement and follow up regarding
same (.2). ..

Multiple calls and emails with Atty. Hutchinson
to revise and finalize Tolling Agreement,
including to assess added language regarding
injunction (.9); email final Tolling Agreement
to Atty. Hutchinson (.2).

Review materials to develop next steps.

Review pending avoidance matter with no current

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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complaint and related tolling, resolution
issues and strategies.

Review next steps to address Avfuel preference
(.1).

Review case status and prior correspondence in
order to address preference matter.

Develop recommendation for Trustee and draft
settlement proposal to Avfuel (.4); emails with
Trustee regarding same (.1); finalize proposal,
and email Avfueld’s counsel regarding same
(.1).

(Re: Avfuel Corporation) Draft/review second
tolling agreement.

Telephone call with Attorney Hutchinson
regarding merits of case and Tolling Agreement
(.1); revise Second Tolling Agreement to be
consistent with Avfuel's first Tolling
Agreement (.2); finalize and email to Attorney
Hutchinson for review (.1); additional emails
regarding logistics of Second Tolling Agreement
(.2); execute Second Tolling Agreement and
email Attorney Hutchinson with final version
(.1).

Follow up regarding settlement proposal.

Review open recovery, tolling issues and
emails.

Email Attorney Hutchinsen to follow-up
regarding settlement proposal.

Track Tolling Agreement expiration (.1); email
Atty. Hutchinson regarding settlement proposal
(.1).

Review status of Complaint in light of Avfuel’s
lack of substantive response.

Consider timing of tolled statute of limitation
in light of absence of substantive response.
Review status of new deadline for filing
adversary complaint (9/15/14)

Begin review of Complaint, underlying transfer
and defense materials.

Review and revise draft Complaint, including to
consider additional counts to add based on fact
pattern (.8); memorandum to Trustee regarding
same (.2).

Review open issues for Complaint, related

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Chapter 7 Trustee

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recovery and settlement strategies.

Continue revisions to complaint, review
underlying transfer, defense materials and
issues.

Memoranda with Trustee regarding Avfuel and
additional counts to potentially add to
Complaint.

Devise possible additional recovery grounds,
related research and analysis regarding credit
recoveries.

Review status of settlement discussions, next
steps in recovery efforts, and upcoming tolling
expiration.

Consider steps to communicate with Avfuel’s
counsel about Complaint.

Examine invoices for additional credit
information and strategize regarding turnover
count in context of post-invoice credits (.5);
augment Complaint to reflect same (1.8).
Review open issues, strategies regarding
recovery complaint.

Revise Complaint.

Strategy regarding drafting complaint and
asserting claims for return of Estate property
(overpayments) and claim for accounting; review
and begin to edit Complaint.

Revise and augment Complaint and, specifically,
new count regarding turnover of credits (1.2);
revise Adversart Proceeding Cover Sheet (.1);
compile exhibit package (.2); additional
revisions to Complaint (.4); additional
revisions to Adversary Proceeding Cover Sheet
(.1); finalize Complaint package for review
(.1); additional strategy regarding Complaint
and turnover count (.4).

Review and revise updated complaint and review
underlying transfer, defense materials.
Further review and edit Complaint.

Follow up regarding Complaint and new count;
further edit Complaint and finalize package for
Trustee's review (1.2); draft memorandum to

_ Trustee with Complaint package and information

regarding same (.3).
Review final form of recovery complaint,

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Chapter 7 Trustee

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supporting materials.

Finalize adversary complaint, cover sheet and
exhibits and coordinate efiling of same;
receipt and review of summons.

Memoranda with Trustee regarding addition to
Complaint (.1); further revise Complaint and
finalize complete package for filing (1.1);
memoranda with Trustee regarding filing (.1);
attention to e-filing Complaint (.2); attention
to Court’s issuance of Summons and track new
answer deadline (.1); email Atty. Hutchinson
regarding service of Complaint (.2).

Review open discovery, pretrial issues and
strategies, next steps in attempted resolution,
related defense materials and responses, .
Follow up regarding filed Complaint.

On-line research as to corporate
officers/registered agent of Avfuel
Corporation; prepare transmittal letter and
certificate of service for attorney review.
Attention to revisions to certificate of
service for summons and complaint and
coordinate service for both; attention to
efiling of certificate of service; track answer
deadline.
Attention to service of process including
research regarding company addresses (.3);
review and revise service of process package
(.2); review and execute updated package (.1).
Track partial return of service.

Telephone call from Atty. Hutchinson.

Prepare for call with counsel.

Telephone call to Atty. Hutchinson regarding
Complaint.

Review memorandum from Atty. Hutchinson
regarding settlement, with attachments.

Review substantive response from Atty.
Hutchinson including calculations and
assessments of arguments and defenses based on
payment spreadsheet provided (2.5); calculate
ordinary course payment timing (.3).

Assist with assessment of preference analysis.
Review memoranda from Trustee regarding
settlement negotiations.

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Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

Review defendant's informal response to
complaint, assess additional defenses raised,
and revise proposed response.

Continue calculating payment dates and trends
in order to assess ordinary course and
contemporaneous exchange defenses (.5); review
case law and interpretations of substantially
contemporaneous and ordinary course defenses
and consider matter-specific facts in
application of same (3.0); develop and draft
response to Atty. Hutchinson (1.3); memoranda
with Trustee regarding same (.2); finalize and
send responsive email to Atty. Hutchinson (.2).
Telephone call from Atty. Hutchinson regarding
settlement negotiations (.1); review materials
to develop potential settlement range (.2);
telephone call with Atty. Hutchinson regarding
settlement prospects and evaluate potential
proposals (.3).

Review defenses, research and analysis
regarding new value and contemporaneous
exchange, devise strategies regarding
settlement and discovery.

Memoranda with Trustee regarding settlement
negotiations.

Prepare for meeting with Trustee (.3) and meet
with Trustee about case background and
settlement proposal (.3); follow up regarding
same (.1).

Continued review of defenses, weaknesses,
litigation and settlement strategies, review
and revise proposed offer, rationale.

Draft email to Atty. Hutchinson outlining
Trustee’s new settlement proposal, including to
review Bankruptcy Code language and
relationship information in connection with
same (.8); memoranda with Trustee and finalize
and send email to Atty. Hutchinson (.1).
Continued negotiations, further review of
defenses and new value analysis, and arrive at
settlement. :
Telephone call with Atty. Hutchinson regarding
settlement negotiations (.2); emails with
Trustee regarding settlement (.1); email Atty.

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Chapter 7 Trustee

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TASK: 9150 Tax Issues

Attorney Summary

290 goneil Gina B. O'Neil

Hutchinson to confirm settlement (.1); compile
Materials necessary for preparing settlement
documents (.1).

Draft Stipulation of Settlement (1.0), Motion
to Approve Stipulation (.2), Motion to Limit
Notice (.1), and Certificate of Service (.1);
further revise, augment, and edit settlement
pleading package (.7).

Confirm receipt of settlement funds.

Review final form of settlement draft, related
release, payment issues.

Track memos between trustee and defendant's
counsel as to settlement; calendar ahead.
Update litigation control chart.

Revise and finalize Stipulation (.4), approval
motion (.3) and ancillary documents (.1) and
email Stipulation to Atty. Hutchinson for
review (.2).

Update preference chart as to current
status/deadlines.

Emails with Atty. Hutchinson regarding
signature pages on Stipulation.

Review, revise proposed approval motion, review
underlying settlement materials, release and
claim issues.

Review email from Atty. Hutchinson with
executed Stipulation.

Compile fully-executed Stipulation and further
edit approval package (.4); memoranda with
Trustee regarding approval motion (.1); revise
approval motion to clarify demand amounts (.1).
Further edit Certificate of Service.

Attention to as-filed pleadings and Order
Limiting Notice (.1); email Atty. Hutchinson
with as-filed fully-executed Stipulation (.1).

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MIRICK, O'CONNELL

15008 Joseph H. Baldiga,
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Chapter 7 Trustee

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Emails with P., Bley regarding bank statements
needed to confirm information on W2s, and
follow up regarding same.

Follow up and confirm Bank information received
for W-2's.

Emails with Verdolino & Lowey and Attorney Boyd
regarding Ellisons’ W-2s.

Emails with Attorney Boyd and G. Reid
(Verdolino & Lowey) regarding Ellisons’ W-2s.

TOTAL

Hours Value Rate
0.50 180.00 360.00

28.50 10,925.50 383.35
15.60 3,855.00 247.12
0.90 166.50 185.00

46.70 8,420.50 180.31
10.20 1,990.50 195.15

Letter to TD Bank to request closure of
account; telephone call to TD Bank to request
contact information for request; on-line search
for lock smith in Myrtle Beach, S.C. if needed
to secure premises.

Check South Carolina Secretary of State site
for company and asset information.

Telephone call to Lindsay Trueblood and Steve
Dube at TD Bank to confirm closure of Debtor’s
DIP account; electronic mail to Rusty Helm to
authorize change of locks at Debtor’s premises;

Hours Value
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Hours Value
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Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

online search regrading location/description of
Debtor's premises.

Address closing of bank accounts.

Telephone call to Wells Fargo regarding letter
received by UST’s office; letter to Wells Fargo
requesting closure of account and balance in
account be forwarded to Trustee; telephone call
to Lindsay Trueblood at TD Bank in follow-up to
request for account closure; receipt of various
electronic mails from Rusty Helm at Keystone
Commercial Realty and Debbie Guyette at Horry
County State Bank regarding status of lock
changes and invoices for same; report results
of all.

Telephone calls to numerous individuals and
departments at TD Bank to confirm closure of
debtor’s bank account.

Telephone call to TD Bank regarding closure of
account.

Organize correspondence/file information (.5);
telephone call to Lori Chase at TD Bank to
confirm closure of debtor's DIP account (.5);
telephone call to Strand Storage Center, Myrtle
Beach, SC to request access to debtor’s storage
unit.

Identify bank account information and direct
closure of accounts.

Online search of Pacer (nationwide) for
possible bankruptcy filings by Debtor's
managers and report results.

Telephone call to Crescent Bank and Horry Bank
to confirm contact information; draft letters
to same requesting Debtor’s accounts be closed;
review and revise letters; telephone call from
C. Campbell at Horry Bank regarding request.
visit to TD Bank branch regarding account
closure, turnover.

Assess issues and recovery of bond funds.
Review update regarding cash in accounts.
Attend to case materials in connection with
continued creation of issue list.

Telephone calls with Attorney Horan (Falcon
Air) regarding status of litigation between
Falcon and Debtor, settlement, and claims (.3);

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memorandum to Trustee outlining same (.2).
Review additional bond materials and related
emails with Attorney Handel for DOT.

Attend to gathering information about WV
Facility.

Emails with Attorney Handel (.2), review
additional bond materials (.2) regarding
turnover issues,

Review and respond to email from Attorney Horan
(Falcon Air) (.1); attention to litigation
documents attached (.1).

Lengthy call with Attorney Handel regarding
bond, DOT issues (.9); call and emails with
Attorney Carver regarding bond (.4); related
analysis regarding VNB account (.2).

Emails with Attorney Boyd (.3), review case
materials (.4), and lengthy call with Attorney
Horan (.6) regarding position on Falcon
litigation.

Review status of bond issues and negotiations
with DOT counsel.

Review emails summarizing Falcon Air matter and
possible claims.

Discuss pending issues/tasks of case with
trustee.

Telephone call to WV property manager regarding
leased space and assets therein (.1); review
emails regarding former principals’ access to
and use of WV assets (.1).

Review memorandum from Attorney Fixler
regarding assets (and ownership of same) in WV
facility.

Numerous emails with Attorneys Boyd, Horan
regarding Falcon litigation and recovery
prospects.

Review detailed summary of Falcon Air
litigation.

Emails with Attorney Horan regarding
litigation.

Discuss strategy for tracking pending issues
and deadlines and review current list of
pending issues.

Review messages between Trustee and DOT
regarding bond funds.

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

05/17/12 JHB 9250

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05/23/12 kmdellec 9250

05/23/12 goneil 9250
05/25/12 kmdellec 9250

05/25/12 goneil 9250

05/29/12 JHB 9250

05/29/12 kmdellec 9250

05/30/12 kmdellec 9250

Preparation for, participation in dismissal. 1.70
hearing (1.4), related follow ups with

Attorneys Galin, Goldsmith (.3).

Strategize regarding updating issue list. 0.10
Draft Subpoena for Rule 2004 Examination (Horry 2.50
County State Bank, Crescent Bank and Wells

Fargo) (1.0); telephone call to Emily at

Crescent Bank, TD Bank and Horry County State

Bank to confirm addresses for requests for bank
statements; draft letters to Horry County State

Bank, Crescent Bank, TD Bank and Attorney John

Vian (on behalf of Wachovia Wells Fargo),

including Exhibit A to each defining account

statements requested (1.0) and review/revise

all (.5).

Assist with request for missing bank 0.10
statements.
Review revisions to requests for bank 0.20
statements.
Strategize with Trustee regarding allegations 1.20

of removal of assets and documents from West

Virginia facility (.2); identify and call

multiple local attorneys in attempt to remotely

secure West Virginia facility in light of

allegations (.7); telephone call with Trustee

regarding next steps (.1); telephone call to

Attorney Fixler regarding his clients’ alleged

role (.1); review emails from Attorneys Fixler

and Boyd regarding allegations of old

management's role (.1).

Emails with Ms. Bley regarding bank statement 0.50
compilation and preference assessment (.2);

continued review of transfer materials and

potential defenses (.3).

Review final revisions to requests for bank 0.50
statements and finalize for transmittal;

forward letter to Attorney Hall via electronic
transmission. .

Attention to creation of datatable to track 2.20
insiders for transfer analysis by accountant

and determine parties to be included (1.7);

review and revise same and on-line search

regarding ownership information for West

Virginia Reservation Center (.4); review lease

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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regarding West Virginia Reservation Center to
confirm address (.1).

Review and revise requests for bank statements.
Emails with Attorney Carver regarding bond
turnover.

Review case status (.6) and prepare control
sheet to track liquidation/recovery efforts and
outstanding issues regarding same (.6); review
and revise same (.3)

Emails with Attorney Carver (.3) and related
analysis, strategies (.2) regarding bond
turnover and claims.

Review memoranda between Trustee and Platte
River regarding negotiations for bond funds.
Emails with Attorney Carver regarding bond
turnover.

Telephone from and to Shawn at Crescom Bank to
request extension of deadline to provide
debtor’s account information; telephone call
from and to Cindy White at Horry County State
Bank (x2) to confirm information requested and
to request extension of deadline to provide
information.

Emails with Attorneys Carver (.2), Field (.2)
regarding bond turnover, abandonment; review
underlying bond materials and strategies (.3).
Electronic mail to and from Attorney Brian Hall
to confirm status of request for bank records
from Wells Fargo (.2); telephone call to TD
Bank (x3) to determine (a) status of request
for bank records and (b) address to which
subpoenas should be forwarded (.5); telephone
call and fax to Brooke at Park Ave branch
regarding status of request (.3).

Review memoranda developing agreement with
Platte River.

Emails with Attorney Carver regarding bond
issues (.2), review issues for agreement and
approval (.2).

Electronic mail from Brian Hall regarding
status of request for bank records from Wells
Fargo.

Review messages regarding Platte River
insurance.

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Address issues with retrieval of TD Bank
statements.

Emails with Attorney Handel regarding TSA
funds, recovery actions (.3), review materials
from same (.2)

Updates to special counsel status report as to
status of case.

Review Wells Fargo bank records provided by
Brian Hall to confirm compliance with request;
review bank records provided by Horry County
State Bank to confirm compliance with trustee’s
request; review bank records provided by
Crescent Bank to confirm compliance with
trustee's request; electronic mail to B. Hall
to: request missing information; attention to
forwarding all to Verdolino & Lowey;
transmittal letter to Verdolino & Lowey
enclosing all bank records.

Discuss bank records requested and received
from Wachovia, Crescent Bank and Horry County
State Bank with trustee; receipt and review of
missing records from Wells Fargo and forward to
M. Whitehouse at Verdolino & Lowey via
electronic mail.

Review status of bank records request.
Telephone call from Brooke at TD Bank (x2) with
questions regarding request for bank records;
confirm account numbers regarding same.
Receipt/review of bank records requested from
TD Bank; review/organize all requests for bank
information.

Discuss substance of Stipulation with Trustee
regarding turnover of bonds from insurance
company .

Review additional materials regarding bond
turnover, DOT issues and related approval
strategies.

Review and revise draft term sheet.

Further analysis of issues regarding escrow.
Letter to Horry County State Bank enclosing fee
for account information; review and finalize.
Review bonds between Debtor and Platte River
Insurance Company regarding drafting
Stipulation and Release regarding turnover of

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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bonds to estate (.6); review Motion of Horry
County Department of Airports for Relief from
Stay regarding payment under performance bond
and as-entered Order regarding same (.3);
review DOT regulations regarding required
surety for public charter airlines (.6); review
email correspondence between Trustee and
counsel for Platte River Insurance Company
regarding negotiated terms of Stipulation and
Release regarding bond agreement (.4); draft,
review and revise Stipulation and Release
(3.8).

Review and revise bond agreement regarding
Platte River Insurance Company.

Attention to file organization and filing.

Work on bond agreement.

Continue revisions to bond turnover motion and
review underlying bond, D.O.T. regulations.
Analysis of Trustee’s initial edits to
Stipulation and Release with Platte River
Insurance Company regarding turn over of bond
funds to estate.

Analysis, document and regulation review
regarding bond turnover agreement (.6), review
and revise related agreement (.6).

Review Department of Transportation regulations
regarding claims bar date under surety bond
(.7); implement edits to, revise and review
Trustee's draft Stipulation and Release with
Platte River Insurance Company (1.0);
strategize with Trustee regarding extension of
deadline for passengers to file Bond Claims and
required notice to passengers of Stipulation
and Release with Platte River Insurance Company
and claims under bond (.5); revise draft
Stipulation and Release regarding Bond Bar date
and compliance with Department of
Transportation regulations (.6); final review
of draft of same (.2).

Further attention to bond agreement and related
approval issues and strategies.

Final review of draft Stipulation and Release

regarding Platte River Insurance Company surety

bond (.1); email same to counsel to Platte

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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River Insurance Company for review (.2).

Emails with Attorney Carver regarding bond
agreement revisions, concerns.

Telephone call and email with Myrtle Beach
Landlord to recover assets from safe.

Review recovery issues regarding safe, various
accounts, and emails with group regarding same.
Confirm receipt of cash from safe; memorandum
regarding same.

Emails with Attorney Carver regarding revisions
to bond motion,

Emails with Attorney Carver regarding bond
issues.

Review and address materials from Myrtle Beach
safe.

Revise bond agreement to reflect insurer
comments.

Emails with Attorney Carver regarding bond
issues.

Research, analysis regarding creditor pursuit
of Ds and Os and whether estate claims.

Further revisions to bond agreement and related
review of agreements, regulations (.8); related
emails with Attorney Carver (.2).

Review open bond issues and related email to
Attorney Carver.

Emails with Attorney Carver regarding bond
agreement, DOT issues.

Call, emails with Attorney Carver regarding
bond agreement, approval issues.

Emails with Attorney Carver regarding bond
stipulation and finalize same (.3), email
agreement to Attorney Handel at DOT and follow
up emails with same (.2).

Review relevant pleadings and correspondence in
connection with draft of approval motion
regarding bond with Platte River.

Review open issues, strategies regarding bond
agreement (.2) and related call with Attorney
Handel (.2).
Draft approval motion regarding agreement
regarding bond with proposed order, motion to
limit notice with proposed order and
certificate of service, review and revise all.

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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Emails with Attorneys Handel, Carver regarding
open bond issues (.2), review terms for
approval motion (.2).

Review proposed DOT changes to bond turnover
agreement and incorporate same into revised
agreement (.8), related emails with Attorneys
Handel, Carver (.3); review issues for approval
motion and order (.3).

Review emails regarding stipulation regarding
Platte River bond; calendar ahead accordingly.
Further emails with Attorneys Carver, Handel
regarding bond agreement revisions (.3),
attention to related approval pleading, issues
(.2).

Work on bond approval pleadings (motion, order,
notice motion), further revise agreement, and
transmit all to Attorneys Carver, Handel.
Review various electronic mails from trustee,
B. Carver and A. Handel regarding revisions to
approval motion regarding Platte River bond.
Emails with Attorneys Carver, Handel regarding
bond agreement, changes to approval pleadings
and order, revisions to same.

Continue rounds of revisions and emails with
Attorneys Carver, Handel regarding bond
agreement and approval pleadings, finalize
order and final review of all pleadings.
Review electronic mails from B. Carver, A.
Handel and trustee regarding proposed revisions
to proposed order; revise order accordingly;
review complete package prior to efiling;
request copy of signed stipulation from
Attorney Carver.

Electronic mail to B. Carver regarding status
of Platte River’s signature in the stipulation
(x2).

Emails with Attorney Carver regarding bond
agreement, motion and review open motion
issues,

Receipt of signed stipulation by Platte River;
finalize pleadings for efiling/service and
attention to exhibits for stipulation.

Assist with motion to approve bond settlement.
Organize file information regarding stipulation

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours, LLC)

and approval motion for Platte River surety
bond; calendar ahead regarding hearing notice.
Track order regarding motion to limit notice
regarding stipulation with Platte River.

Review service list regarding approval motion
for Platte River stipulation; prepare
supplemental certificate of service to include
Schedule F- Non-Consumers and post-petition
creditors,

Identify and address discrepancy in Certificate
of Service regarding Platte River Bond
Stipulation, including development of amended
Certificate of Service (.3); review and execute
amended Certificate of Service (.1).

Update chart to reflect filing of Sky King
Proof of Claim (.1). /

On-line search of USBC - Eastern District of CA
to locate copy of docket report regarding Sky
King, Inc; note relevant deadlines; obtain copy
of cash collateral motion and application to
extend deadline to file schedules and calendar
ahead regarding deadline for same; complete and
submit ECF registration forms for J. Baldiga
and G. Barbieri; review local rules regarding
appearances and draft/review notices of
appearance for J. Baldiga and G. Barbieri.
Review Sky. King C. 11 materials, strategies for
Claim (.3); related call with Attorneys Reier,
Gurfein (.2).

Follow up regarding Sky King bankruptcy and
attend to California Court's electronic notice
requirements, in order to appear in Sky King’s
Ch. 11 bankruptcy case (.3); telephone call
with California Bankruptcy Court Clerk
regarding electronic filing (.1); review and
revise Request for Service of Papers in Sky
King case (.2).

Review and revise notices of appearance for J.
Baldiga and G. Barbieri in Eastern District of
CA regarding bankruptcy case for Sky King.
Telephone call to and from Madelyn at
Bankruptcy Court regarding status of order on
Motion to Approve Stipulation regarding Platte
River bond.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Review approval order, payment and distribution
issues regarding bond.

Receipt/review of order allowing stipulation
between trustee and Platte River Insurance
Company; forward copy of order to Attorney Brad
Carver via electronic mail; update control
sheet and calendar for receipt of surety bond
payment.

Multiple emails with Attorney Carver regarding
bond turnover and related claim issues and
strategies.

Review correspondence between trustee and
Attorney Carver regarding claim information to
be provided by Capital Insurance Company in
connection with Platte River surety bond;
calendar for receipt of same.

Review pacer docket in connection with Sky King
bankruptcy case (Eastern District of CA) and
obtain copies of schedules and SOFA for
trustee’s review (.5); review/revise notices of
appearance for J. Baldiga and G. Barbieri and
attention to logins/passwords for. same (.6).
Review emails from B. Carver to trustee
regarding status of settlement funds and claim
copies; calendar ahead.

Review bond payment issues and related emails
with Attorney Carver.

Review Sky King SOFA and identify possible
connection with insider George McConnaughey.
Continued emails with Attorney Carver regarding
bond payment, releases and related claim issues
and transition (.3), review additional claim
materials from same (.6).

Track receipt of bond proceeds check.

Review litigation, recovery status and next
steps.

Review and revise Notice of Appearance (.1);
review California local rules in connection
with same (.1) (re: Sky King)

Attention to efiling of notice of appearance
for G. Barbieri in Sky King bankruptcy case;
review pacer docket to confirm bar date, if
any.

Follow up regarding Sky King bankruptcy case

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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access.
Review emails and new docket entries in Sky
King bankruptcy case (.2).

Review Sky King pleadings and implications for
recovery. ‘

Review pacer docket in Sky King bankruptcy
proceeding in Eastern District of California
from inception to date as to pleadings filed
and affect, if any, on debtor and report
results (2.0); draft proof of claim,
attachments, declaration and certificate of
service for filing in Sky King bankruptcy case
and revisions to same (1.3).

Review docket report for Sky King, Inc. and
report summary of new pleadings filed.

Review Sky King summary and claim issues and
strategies.

Revise Proof of Claim for Sky King.

Finalize proof of claim for filing in Sky King,
Inc. bankruptcy case (.3); review docket report
as to additional pleadings filed, if any, and
report results (.1).

Review Sky King Proof of Claim, execute
Certificate of Service and review California
local rules to ensure compliance with signature
requirements.

Attention to efiling of proof of claim in Sky
King bankruptcy case.

Telephone call to and from Bankruptcy Court -
Eastern District of CA regarding proof of claim
filed on behalf of estate; report summary of
same; review docket report for current
activity.

Review/revise summary regarding debtor’s bank
statements.

Review memorandum regarding Sky King Proof of
Claim.

Review pacer docket of Sky King bankruptcy case
as to current status and report results.
Review Sky King docket history memorandum.
Review current docket report in Sky King
bankruptcy case and report results.

Review pacer docket regarding Sky King and
review recent filings; report results.

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

12/07/12 kmdellec 9250 Review pacer docket for Sky King bankruptcy 0.10 18.
. case and report results.

12/12/12 JHB 9250 Emails with Mr. Dooley regarding parallel 0.20 77.
cases, issues.

12/12/12 kmdellec 9250 Review pacer docket regarding Sky King 0.20 36
bankruptcy case and report results.

12/13/12 goneil 9250 Review memoranda with attorney from Swift Air 0.80 196.
bankruptcy case and investigate Swift Air case
(alleged to involve same parties ) (.2); review
Statement of Financial Affairs and Motion to
Convert in Swift Air case and identify
parties/similarities from Direct Air case (.5);
memorandum to Trustee regarding same (.1).

12/17/12 goneil 9250 Review Sky King bankruptcy updates. 0.10 24

12/18/12 goneil 9250 Review Sky King case status report. 0.10 24

12/19/12 goneil 9250 Review Sky King Motion to Compromise with Bank. 0.10 24

12/20/12 kmdellec 9250 Review Pacer docket regarding Sky King for 0.20 36.
current status and report results of same.

12/27/12 goneil 9250 Review summary of recent Sky King bankruptcy 0.10 24
filings.

01/10/13 kmdellec 9250 Review pacer docket regarding recent filings in 0.20 36.
Sky King bankruptcy case; report results.

01/18/13 goneil 9250 Follow-up regarding Quickbooks account (.1). 0.10 24,

02/04/13 goneil 9250 Confirm receipt of check for Debtor cash found 0.10 24.
within records; memorandum regarding same.

03/11/13 kmdellec 9250 Review pacer docket regarding Sky King, Inc.; 0.60 108
prepare summary of filings since last
review/summary.

03/19/13 kmdellec 9250 Review pacer docket of Sky King bankruptcy case 0.20 36.
for recent filings.

03/20/13 goneil 9250 Review summary of Sky King docket updates. 0.10 24

03/28/13 kmdellec 9250 Review pacer docket regarding bankruptcy case 0.20 36.
for Sky King. and report results.

04/03/13 goneil 9250 Review correspondence regarding mail. 0.10 24,

04/08/13 kmdellec 9250 Review recent pleadings in Sky King bankruptcy 0.30 54.
case; report results.

04/08/13 kmdellec 9250 Draft letter to USPS requesting forwarding 0.50 90.
order for debtor’s mail; complete USPS Form
3575; review all for accuracy.

04/12/13 goneil 9250 Telephone call and emails with Attorney Boyd 0.20 49,

, regarding case and issue updates.

04/16/13 kmdellec 9250 Review Sky King docket report and report 0.30 54.
results as to recent filings.

04/17/13 goneil 9250 Telephone call from Attorney Boyd regarding 0.40 98.

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

former management's access to tax records (.1);
email Trustee with summary and assessment of
former managers’ request to access tax records

(.3).

04/21/13 goneil 9250 Review summary of recent filings in Sky King 0.10 24.50
matter.

04/25/13 kmdellec 9250 Review status of Sky King bankruptcy case and 0.10 18.00
report results of same.

05/01/13 goneil 9250 Emails with Trustee and Attorney Boyd regarding 0.10 24.50
Former Managers’ access to IRS documents.

05/06/13 kmdellec 9250 Review pacer docket of Sky King bankruptcy case 0.30 54.00
to determine current status and report results.

05/10/13 goneil 9250 Review and revise subpoenas and cover letters 0.80 196.00

to VISA, MasterCard, and Discover; review
Bankruptcy Rules in connection with same.

05/21/13 kmdellec 9250 Review Sky King pacer docket as to current 0.10 18.00
status and report results.

05/31/13 kmdellec 9250 Review Sky King docket to determine current 0.20 36.00
status of case; report results.

06/10/13 cbhorourk 9250 Online analysis of Direct Air Facebook page to 0.90 166.50
compile postings/comments regarding family ties
vouchers.

06/10/13 kmdellec 9250 Review pacer docket regarding Sky King to 0.30 54.00

determine current status of case and report
results to trustee.

06/12/13 goneil 9250 Review summary of Sky King pleadings including 0.10 24.50
Motion to Convert.

06/14/13 goneil 9250 Review Motion to Convert Sky King bankruptcy 0.10 24.50
case to Chapter 7.

07/07/13 goneil 9250 Review Sky King Status Report. 0.10 25.50

07/08/13 goneil 9250 Review mailed case conversion materials from 0.10 25.50
Sky King Bankruptcy case.

07/17/13 goneil 9250 Review summary of Sky King bankruptcy case 0.10 25.50
updates.

07/29/13 kmdellec 9250 Review Pacer docket regarding Sky King 0.30 55.50

. bankruptcy case and report results.

07/31/13 goneil 9250 Review summary of Sky King docket pleadings. 0.10 25.50

08/05/13 goneil 9250 Review Chemoil’s Motion to Convert in Sky King 0.10 25.50
case.

08/12/13 kmdellec 9250 Review Pacer docket for Sky King bankruptcy 0.20 37.00
case and report results.

08/13/13 goneil 9250 Review summary of recent Sky King docket 0.10 25.50
entries.

08/19/13 goneil 9250 Review mail from Sky King bankruptcy case. 0.10 25.50
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15008 Joseph H. Baldiga, Chapter 7 Trustee ,
14190 Direct Air (Southern Sky Air & Tours, LLC)

08/26/13 kmdellec 9250 Review docket report of Sky King bankruptcy 0.30 55.50
case and report results.

09/16/13 kmdellec 9250 Review pacer docket of Sky King bankruptcy case 0.30 55.50
(Eastern District of CA) and report results.

09/18/13 goneil 9250 Review summary of Sky King bankruptcy docket. 0.10 25.50

10/09/13 kmdellec 9250 Review Pacer docket for Sky King, Inc. as to 0.50 92.50
case status; report results.

11/11/13 kmdellec 9250 Review pacer docket for Sky King bankruptcy 0.50 92.50
case to determine current status and report
results.

11/12/13 kmdellec 9250 Obtain copies of pleadings requested by trustee 0.30 55.50
in connection with Sky King bankruptcy case.

11/15/13 JHB 9250 Review Sky King pleadings, recovery prospects. 0.30 117.00

11/20/13 kmdellec 9250 Review pacer docket of Sky King bankruptcy 0.20 37.00

case; report results.

12/02/13 goneil 9250 Review letter to creditors regarding Sky King 0.10 25.50
sale potential.

12/13/13 goneil 9250 Review Sky King case update. 0.10 25.50

01/14/14 goneil 9250 Review Sky King bankruptcy updates. 0.10 25.50

03/04/14 goneil 9250 Telephone call with Sky King trustee and follow 0.40 102.00
up with memorandum to Trustee regarding same.

03/17/14 goneil 9250. Review new docket entries regarding Sky King . 0.10 25.50
: bankruptcy case, including Trustee action
regarding financing.
03/26/14 goneil 9250 Review multiple Sky King docket entries 0.10 25.50
including objection from creditor regarding
asset sale.

04/05/14 goneil 9250 Review emails from Sky King Trustee regarding 0.10 25.50
case status.

04/16/14 goneil 9250 Review new Sky King docket entries including 0.10 25.50
sale motion.

04/22/14 goneil 9250 Review mailed documents from Sky King case. 0.10 25.50

06/02/14 goneil 9250 Attention to multiple new Sky King docket 0.10 25.50
entries.

06/03/14 goneil 9250 ‘Various telephone calls with Chapter 7 Trustee 0.40 102.00

in Sky King case about claims in both
bankruptcy cases.

06/18/14 goneil 9250 Review Sky King sale-related docket entries. 0.10 25.50
08/12/14 JHB 9250 Review update, recovery issues and strategies 0.10 39.50
regarding Sky King C. 11, POC prospects.

08/12/14 kmdellec 9250 Review/track memo regarding status of Sky King 0.10 19.50

bankruptcy case.
08/12/14 goneil 9250 Review Sky King debtor’s newly filed Disclosure 1.30 344.50

Statement and prepare memorandum to Trustee
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15008 Joseph H. Baldiga,
14190 Direct Air (Southern Sky Air & Tours, LLC)

08/18/14 JHB 9250

08/26/14 goneil 9250

09/09/14 goneil 9250

09/11/14 goneil 9250

TASK:

TYPE 9250

Attorney Summary

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142

PWC Paul W. Carey

CED Christine E. Devine
JHB Joseph H. Baldiga
goneil Gina B. O'Neil
kmdellec Kimberly M. De
JES Jeffrey E. Swaim

TYPE 9255 TOTAL

Time Detail

04/20/12 JHB 9255

05/11/12 JHB 9255

05/23/12 goneil 9255

05/30/12 goneil 9255

06/01/12 goneil 9255

06/03/12 JHB 9255

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Chapter 7 Trustee

regarding same (1.0); log Plan-related
deadlines (.1); update preference chart to
reflect (.2).

Review Sky King plan materials, distribution
prospects. :
Attention to filing of multiple new Sky King
Plan/voting - related documents.

Review multiple Sky King docket entries
regarding Plan.

Review Sky King Plan objection.

TOTAL

9255 Preference/Fraudulent Conveyance Claims

Hours Value Rate

2.30 862.50 375.00
0.30 112.50 375.00
117.20 45,437.00 387.69
253.60 63,596.00 250.77
167.40 30,438.00 181.83
1.00 370.00 370.00

541.80 140,816.00

102.40

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Value

Review other potential preferences and transfer 0.30

issues involving other parties (.3).

Review amended SOFA, case materials regarding
transfer, avoidance issues. /

Review preliminary list of insiders from M.

Whitehouse (Verdolino & Lowey) and create plan

to augment.

Review Bankruptcy Code definition of "insiders" 0.30
in order to assist with identification of same,

for transfer analysis (.1); consider format of

insider list (.1); email M. Whitehouse
regarding addresses on list (.1).
Attention to issue list for tracking
outstanding tasks and next steps.
Review insider, transfer materials and

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Chapter 7 Trustee

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parameters.

Review, revise insider list regarding avoidance
actions.

Review open bank record issues, bank responses
and devise strategies to obtain.

Review status of master list of insiders and
possible additions.

Review docketed letters from FAA regarding
escrow of passenger facility charges.

Review messages regarding status of document
requests from various banks.

Review account statement gaps, steps to obtain
and related 2004 exam strategies.

Revisions to list of insiders and re-format to
make more readable.

Review, revise insider list (.2) and email to
VL team regarding transfer analysis (.2).
Attention to additional revisions to insider
list; forward to Matt Whitehouse at Verdolino &
Lowey via electronic mail; review trustee’s
comments to accountant regarding same.

Review messages regarding airport Passenger
Facility Charges.

Review and edit format of Insiders List (.1);
review revised list and update with insiders,
include investigation and review of additional
possible insiders and family members (.5);
finalize list for Trustee’s review (.2).
Review correspondence between Trustee and
Department of Transportation regarding TSA
payments and 341 Meeting questions regarding
same.

Review Trustee's memoranda regarding 341
Meeting.

Review memoranda between Trustee and Attorney
Boyd regarding his role in asset sale.

Emails with Ms. Bley, Mr. Jalbert regarding
avoidance action analysis, next steps.

Begin review of preference analysis from VLPC.
Review memorandum from M. Whitehouse attaching
preference and fraudulent transfer analyses;
preliminarily review regarding same.

Continue review of preference analysis.
Continue review of preference, transfer

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Joseph H. Baldiga, Chapter 7 Trustee
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analyses from VLPC and formulate next steps.
Continue review of transfer materials/analysis
from VLPC and formulate related strategies.
Develop plan for preference demands, consider
timing of action v. insiders (.2); review
preference analysis chart in preparation for
demands (.2).

Lengthy review and analysis regarding
insider/preferential transfers and devise
parameters for demand, recovery efforts.
Conference with Trustee and Trustee’s counsel,
G. Barbieri, to develop strategy regarding
pursuit of preferences and insider payments.
Conference with Trustee regarding preference
and fraudulent transfer analyses, including
detailed review of charts and development of
strategic plan for issuing demand letters to
certain transfer recipients.

Further review of transfer analyses and related
emails with Mr. Whitehouse.

Review memos regarding preference analysis.
Review strategy regarding recovery of
preference transfers; determine format for
chart to track progress of same; review SOFA;
begin draft of demand letter; review chart
provided by accountant summarizing all
preference/insider transfers.

Review analysis from Verdolino & Lowey to begin
determination of recipients for initial demand
letters; review and revise summary chart to
track preference recoveries.

Continue review of preference analysis provided
by accountant to determine those accounts to
receive demand letter; draft template for
insider demand letter; revise template for
preference demand letter.

Attend to planning issues for demand letter
preparation.

Additional revisions to insider preference
demand letter.

Email M. Whitehouse at Verdolino & Lowey
outlining questions regarding preference and
fraudulent transfer analyses.

Further review of issues and materials

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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regarding preference pursuit.

Confirm addresses for preference demand letters 1.70
and on-line search for corporate information

for certain recipients.

Continued analysis of transfer materials and 0.30
recovery issues and related emails with VLPC.
Continue to confirm address and contact 2.40

information of officers for certain preference
demand letters; compare analysis provided by
accountant vs. debtor’s statement of financial
affairs as to insiders; review electronic mails -
from accountant and trustee’s counsel regarding
period of review and credit card accounts for
certain insiders.

Review and assess email from M. Whitehouse 0.60
regarding insider and preference analyses, and
respond with further direction regarding same
(.4); make arrangements to obtain account
statements for newly-uncovered Keilman and Tull
AMEX cards (.2).

Consider timing of claims against insiders. 0.10
Further document review, Verdolino & Lowey PC 0.30
emails regarding transfer review and

parameters.

Complete comparison of accountant’s analysis of 2.30

insider payments to amended statement of
financial affairs; attention to Chem Oil
preference payments to confirm if any value;
review prior disclosures; draft letter to
American Express to request missing credit card
statements.

Address Quickbooks billing and audit issues, 1.00
including lengthy telephone call with
Quickbooks representatives (.8); email to M.
Felton with questions about payroll function of
Quickbooks (.2).

Emails from M. Whitehouse regarding transfer 0.10
analyses and insiders’ credit cards.
Coordinate and provide instructions for 0.50

creation of merge documents for preference

demand letters and for search of Bankruptcy

Court's claims register for possible claims

filed by preference defendants.

Review and revise draft form preference and 0.60

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

insider preference demand letters.

08/13/12 goneil 9255 Review email from M. Felton following up 0.10 24.50
regarding retention of Quickbooks payroll
account.

08/14/12 kmdellec 9255 Discuss progress of preference demands with 0.30 54.00

trustee’s counsel and strategy to move forward
with demands.

08/14/12 kmdellec 9255 Review revisions to draft preference demand 3.10 558.00
letter; revise letter to American Express
requesting credit card information regarding
Judy Tull and Robert Keilman; attention to
conflict check for all potential preference
defendants; electronic mail to R. Helm to
request rent history for one year preceding
petition date; attention to preparation of
preference letters and merge format; review
bankruptcy case number TNCI (potential
preference defendant) to determine bar date, if
any, and if payments received from debtor were
pre or post-petition payments; review debtor's
schedule F to determine credit cards listed, if

any.
08/14/12 goneil 9255 Review preference and insider demand status and 0.80 196.00
strategize regarding next steps.
08/15/12 kmdellec 9255 Review draft of non-insider preference demands 4.40 792.00

for accuracy of check/amount
information/addresses and confirm whether or
not claim filed by preference defendant.
08/15/12 goneil 9255 Assist with demand letter project. 0.10 24.50
08/15/12 goneil 9255 Telephone call from Chemoil counsel regarding 0.20 49.00
King Williams addresses (.1); memorandum to
Trustee regarding same (.1).
08/16/12 kmdellec 9255 Complete review of non-insider preference 3.80 684.00
demands and determine those demands still to be
generated and attention to those demands and
exhibits; review SOFA to compare payments made
within 90 days of petition date to analysis
provided by accountant; review and revise
demand letters and exhibits to additional
preference defendants; additional emails to
accountant regarding Jet Blue and USA Jet.
08/16/12 goneil 9255 Two telephone calls with Attorney Haber’s 0.30 73.50
office regarding Chemoil’s lawsuits against
Direct Air insiders; memorandum to Trustee
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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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regarding same.

Assist with demand letter preparation.

Finalize letter to American Express requesting
credit card information.

Determine certain preference insider defendants
to receive demand letters (regarding promissory
notes) and addresses for same; coordinate
creation of datatable for insider demands and
revisions to non-insider demarid letters; review
results of conflict check regarding preference
defendants and attention to additional conflict
check.

Telephone call to Betsy Helm at Keystone
Commercial Realty to follow up on request for
rent payment history.

Assist with demand letter preparation (.1);
assist with information request from Myrtle
Beach landlord (.1).

Review and revise request to AMEX for credit
card statements (.3); investigate possible
corporate entity "Myrtle Beach Direct" in
connection with same (.2).

Review extensive additional transfer materials
and VLPC analysis and formulate recovery
strategies (.8), related team meeting to
discuss open issues and next steps (.3).

Review list of insider transfers with G.
Barbieri and develop strategy for demand
letters to same (.5); investigate connection
between Caribbean Airlines and World Wide
Airlines (.1); electronic mail to M. Whitehouse
at Verdolino & Lowey regarding time-frame for
four year analysis; conference with trustee and
trustee’s counsel regarding preference demands;
telephone call from Gina Jones at Keystone
Commercial Realty regarding rent information
(.7).

Assist with preparation of insider demand
letters (.2); assist with planning, analysis,
and strategy for insider preference demand
letters (.9); confer with Trustee to address
questions about insider demands (.3).

Review and revise multiple non-insider demand
letters (1.7); investigate Caribbean Sun

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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Airlines/World Atlantic Airlines in connection
with same (.2); confer with Trustee to address
questions about non-insider demands (.3).
Review open transfer, analysis issues and
related new information from VLPC.

Electronic mails to and from accountant
regarding status of insider analysis and
clearance of certain preference payments by
bank (x2).

Continue reviewing and revising multiple
preference demand letters, including to confirm
certain notice and claim information,

Review emails with Verdolino & Lowey regarding
transfers identified on Debtor’s SOFA.
Continued review of additional and strategies
regarding preference issues.

Review revisions to non-insider preference
letters and coordinate implementation of same
(1.8); review and finalize final preference
demands prior to transmittal (2.5).

Continue to review and revise multiple demand
letters, including investigation of same (2.5);
assess demand for Riemer & Braunstein payments
and memorandum to Trustee regarding same (.2);
emails with M. Whitehouse at Verolino & Lowey
for information to identify transferees "The
Station" and "Global Pay" (.2).

Research post-petition delivery of services as
new value defense to preference action, in
context of Riemer & Braunstein demand letter
(.5); memorandum to Trustee regarding possible
preference action (.3).

Complete review of final preference demands;
revisions to certain demands; confirm demands
“generated for all preferences.

Review and revise insider preference demands
regarding promissory notes (x2).

Assist with transmittal of preference demands;
address questions regarding address
information.

Final review of all preference demands mailed
to confirm amounts and that all are accounted
for on control sheet for tracking purposes;
calendar response deadline.

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Chapter 7 Trustee

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Assist with demand letter issues (.1); finalize
and execute multiple preference demand letters
(.7); revise insider preference demand letter
to EIN (.2); revise and finalize additional
demand letters (.2).

Finalize/organize all files and tracking chart
for responses.

Review and execute revised demand letters for
EIN and Swissport (.1); revise insider demand
letters to noteholders, research threshold
dollar amount for demands, research fraudulent
transfer grounds, and augment noteholder demand
letters to include fraudulent transfer
allegations (1.2).

Plan for demand letter tracking and related
processes.

Telephone call with Kalamazoo County Treasurer
regarding preference demand and follow up
regarding same (.2).

Review and further revise insider demand
letters to noteholders (.2); confer with
Trustee regarding same (.1); revise, finalize,
and execute same (.3).

Update and edit new preference demand chart.
Revise correspondence regarding preference
demands and review initial responses to
demands, evaluate defenses and review
underlying transfer materials.

Revise tracking chart to include trustee
instructions regarding certain insider
preferences and confirm whether proofs of claim
filed by insiders.

Finalize memos regarding possible preference
conflicts, to address same (.4); two telephone
calls with Attorney Joseph for EIN, and
investigate EIN insider status in connection
with call (.4); telephone call with J. Padillo
of Hilton Garden Inn regarding preference
demand (.2); confirm no action needed regarding
two returned demand letters (.1); update chart
to reflect calls, returned mail, and additional
edits (.4).

Analyze and assess TNCI’s defenses to Trustee’s
demand letter, including preparation of new

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value and ordinary course defense charts based
on invoice history provided by TNCI.

09/05/12 JHB 9255 Continued review of demand responses and 0.30 115.50
formulate strategies for next steps,

09/05/12 kmdellec 9255 Draft and review revised preference demand to 0.20 36.00
Hilton Garden Inn based on new address.

09/05/12 goneil 9255 Review email from Ms. Padilla of Hilton Garden 0.30 73.50

Inn regarding Trans Inns’ liability and attend
to preparation of new demand letter to Trans
Inns (.1); revise, finalize and execute new
demand letter (.1); update chart regarding same

(.1).

09/05/12 goneil 9255 Confer with Trustee regarding TNCI preference 0.10 24.50
exposure.

09/06/12 JHB 9255 Attention to preference responses, strategies 0.30 115.50
for resolution, pursuit,

09/06/12 goneil 9255 Follow up regarding insider analysis and 0.20 49.00

: demands.
09/10/12 kmdellec 9255 Forward courtesy copy of Allegheny County 0.30 54.00

Airport Authority demand letter to Attorney
Eric Smith; update tracking chart.

09/10/12 goneil 9255 Review and assess returned demand letters from 0.50 122.50
TechAviation and Miami Air and update chart
regarding same (.2); review preliminary
responses from Swissport and Aeromotive Ground
Support, and update chart regarding same (.2);
review new Proof of Claim filed by Allegheny
County Airport Authority and update chart
regarding same (.1).

09/10/12 goneil 9255 Telephone call with Attorney Lester for Robert 0.30 73.50
Wardlaw and consider insider status based on
call (.2); review follow up email from Attorney
Lester and update preference chart regarding
same (.1).

09/11/12 goneil 9255 Review and assess Proof of Claim filed by EIN 0.80 196.00

, and update preference chart to reflect same
(.2); review and assess Garofalo Goerlich Proof
of Claim and update preference chart to reflect
same (.2); review and respond to email from —
Attorney Soares (US Air) regarding preference
payment backup, request same from Verdolino &
Lowey, and update chart to reflect (.3); review
response from counsel to Wyvern Hotel and
update chart to reflect (.1).
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09/12/12 kmdellec 9255

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09/18/12 kmdellec 9255

Update tracking chart regarding claims filed by
insiders (Judy Tull, Kay Bllison & Marshall
Ellison); forward copy of Z. Direct demand to
counsel and update chart as to proof of claim.
Update chart to reflect contact with counsel to
Allegheny County Airport (.1); attention to
claim filed by creditor 4 Direct and update
chart regarding same (.1); telephone call with
Attorney Jeffery for BIN regarding insider
status and preference defenses, and update
chart regarding same (.3); review letter from
Massport regarding preference demand and update
chart to reflect (.1).

Review Proofs of Claim filed by insiders Judy
Tull and Stanley and Marshall Ellison.

Track various responses in connection with
preference demands.

Review and assess letter from insider demand
recipient BUC and update chart to reflect.
Telephone call from Attorney Engel (Airport
Terminal Services) regarding preference demand
and update chart to reflect (.2); review
Niagara Frontier preference response (.1).
Review generally response from Aviation
Advantage (.1); telephone call and follow up
email with Attorney Komondy (Kalamazoo
Airport/Treasurer) and update chart regarding
same (.2).

Review and track notification letter from
Attorney Bevins (Sky King) regarding Sky King’s
Ch, 11 (.1); review and respond to extension
request from Sheltair (.1); update chart (.1);
review Z Direct preference response and update
chart to reflect (.2); review and respond to
Xtra Airways email and update chart regarding
same (.2); receive and review Avfuel response
(.1); receive and review Niagara Frontier
response (.1); receive and review Progressive
Funding Solutions response (.1); update chart
to reflect responses (.1).

Review preference responses and strategize
regarding next steps.

Track inquiry from Montreal Gazette regarding
receipt of notices in case.

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Receipt/review of backup information regarding

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US Airways preference payments.
Emails with counsel to Springfield Airport

Authority regarding extension and update chart

to reflect (.1); emails with counsel for
Niagara Falls Aviation and update chart
regarding same (.1); voicemail from Attorney
Kelley regarding Hilton Garden Inn preference
(.1); review fax from Garofalo, Goerlich,
Hainbach and update chart to reflect (.1);
review Quickflight response and update chart
(.1); review memos from Trustee regading Z
Direct and Quickflight analyses (.1); review
and assess information from Verdolino & Lowey
for US Airways analysis (.2); upate chart
generally (.2); confirm response from Horry
County Airports and update chart to reflect

(.1); telephone call and follow up emails with

counsel to ABC Fine Wines (.2) and request
relevant backup from Verdolino & Lowey (.1).
Review Niagara Frontier preference response
(.1); telephone call and emails with Attorney
Brown (The Station) regarding preference
defenses (.2); review response from
Jacksonville Bank and telephone call with
Attorney Blanks to request additional
information (.3); review Costco response (.1);
telephone call and emails with M, Finucan (NY
and NJ Port Authority) regarding deadline
extension (.3); update chart to reflect new

responses (.1).

Review and assess Robert Giordano insider

preference response.

Review and assess Sun Media preference

response.

Telephone call and email from K. Brown (The
Station) regarding preference response (.1);
review response from Allegheny County Airport

(.1).

Review additional responses to preference
demands, expanded insider analysis.

Review updated chart (.1); review email with
EIN response (.1); follow up on multiple

preference responses,

including: assessment of

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09/25/12 JHB

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backup for ABC Fine Wines, and related emails
to move matter forward (.4); email to counsel

for Aeromotive Ground Support Inc. (.2); emails
with counsel for Airport Terminal Services,
Inc. (.3); assessment of response from

Allegheny County Airport Authority, and email
to counsel with analysis of defenses and
invitation to propose settlement (.8);
assessment of response from Avfuel, development
of follow-up document request, and email to
counsel regarding same (.7); analysis of
Aviation Advantage response and request to
Verdolino & Lowey for additional backup
information (.4); request to Verdolino & Lowey
for Caribbean Sun Airlines backup (.2); request
to Verdolino & Lowey for Costco backup (.1);
assessment of Garofalo Goerlich Heinbach
response, including analysis of asserted
ordinary course defense based on payment and
invoice history set forth in its Proof of Claim
(.8); assess Horry County preference response,
including trust fund arguments (.3); update
chart, review next steps and extended deadlines
for other preference demand recipients, and
identify issues for Trustee’s consideration
(.4).

Review additional preference responses and
strategies regarding next steps.

Receipt/review of account statements requested
from American Express; review notes regarding
strategy for same from team meeting.

Review mail from Jacksonville Bank (.1) and
Garofalo Goerlich (.1); emails with Ober Kaler
counsel regarding status of response (.1);
confirm second response from Niagra Frontier
(.1); track returned mail from Miami Air Lines
(.1); review backup materials from Verdolino &
Lowey for Aviation Advantage (.1), Costco (.1),
and Caribbean Sun (.1); review and track
response from Kalamazoo Airport (.1); telephone
call from Attorney Ahlers (ABC) (.1).

Continued assessment of preference responses
and next steps.

Monitor claims register for claims relevant to

231.00

216.00

245.00
